                                                                D
 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 1 of 231 PageID #:1


                                                 R  E C  E IVEAK
                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS 1
                                                       /29/2021  2
                                                              . BRUTO    N
                        EASTERN DIVISION            THOMA.SDG
                                                            IS T R IC T COURT
                                                 CLERK, U.S
                                     )
JERICO MATIAS CRUZ                   )
                                     )
                  Plaintiff,         )      Case No.:
      v.                             )
                                     )
                                             1:21-cv-06916
STARBUCKS CORPORATION,               )
ALYSSA TRIPPIEDI,                    )       Judge Mary M. Rowland
CITY OF CHICAGO,                     )       Magistrate Judge Sunil R. Harjani
KRZYSZTOF ZAGOZDON,                  )
UMER KHAN,                           )
PATRICK G. EBERLIN,                  )
SARGON OSHANA,                       )
IRFAN IBRAHIMOVIC,                   )
JEAN-PIERRE MAHE,                    )
NANCY RIVERA,                        )
RAFAEL MEDINA,                       )
TIMOTHY BERAN,                       )
DAVID WU,                            )
                                     )
                                     )
                  Defendants.        )
                                     )




                                     1
        Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 2 of 231 PageID #:2


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                   )
      JERICO MATIAS CRUZ                           )
                                                   )
                             Plaintiff,            )       Case No.:
              v.                                   )
                                                   )
       STARBUCKS CORPORATION,                      )
       ALYSSA TRIPPIEDI,                           )
       CITY OF CHICAGO,                            )
       KRZYSZTOF ZAGOZDON,                         )
       UMER KHAN,                                  )
       PATRICK G. EBERLIN,                         )
       SARGON OSHANA,                              )
       IRFAN IBRAHIMOVIC,                          )
       JEAN-PIERRE MAHE,                           )
       NANCY RIVERA,                               )
       RAFAEL MEDINA,                              )
       TIMOTHY BERAN,                              )
       DAVID WU,                                   )
                                                   )
                                                   )
                             Defendants.           )
                                                   )

                                            COMPLAINT

   NOW COMES pro se Plaintiff Jerico Matias Cruz, (“Cruz”) files an federal civil rights lawsuit
against Defendants Starbucks Corporation, et al., as protected by the U.S. Constitution and laws
pursuant to Fed. R. Civ. P. 8(a) and (10), 42 U.S. Code Sections 1983, 1985(3), and 1986, 42 U.S.
Code Section 2000(a), (b)(2), and (e), and Federal District Court's Jurisdiction and Venue, 28 U.S.
Code Sections 723(b), 723(c), 1343, 1367, and 2072 and in support thereof, states as follows:

                                           INTRODUCTION


   1. Pro Se Plaintiff Jerico Matias Cruz currently lives at 5135 N Keating Ave, Chicago, Illinois
      60630.

   2. Defendant Starbucks Corporation, doing business as Starbucks Coffee#58413, is currently
      located at 4715 W Foster Ave, Chicago, Illinois 60630; Defendant Alyssa Trippiedi is working
      for Starbucks Coffee#58413, which is currently located at 4715 W Foster Ave, Chicago, Illinois
      60630; Defendant City of Chicago Department of Police, also known as Chicago Police
      Department (“CPD”), is currently located at 3510 S Michigan Ave, Chicago, Illinois 60653;

                                                   2
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 3 of 231 PageID #:3


   Defendant Krzysztof Zagozdon is working for 17th District CPD, which is currently located at
   4650 N Pulaski Rd, Chicago, Illinois 60630; Defendant Umer Khan is working for 17th District
   CPD, which is currently located at 4650 N Pulaski Rd, Chicago, Illinois 60630; Defendant
   Patrick G. Eberlin is working for 17th District CPD, which is currently located at 4650 N
   Pulaski Rd, Chicago, Illinois 60630; Defendant Sargon Oshana is working for 17th District
   CPD, which is currently located at 4650 N Pulaski Rd, Chicago, Illinois 60630; Defendant Irfan
   Ibrahimovic is working for 17th District CPD, which is currently located at 4650 N Pulaski Rd,
   Chicago, Illinois 60630; Defendant Jean-Pierre Mahe is working for 17th District CPD, which is
   currently located at 4650 N Pulaski Rd, Chicago, Illinois 60630; Defendant Nancy Rivera is
   working for 17th District CPD, which is currently located at 4650 N Pulaski Rd, Chicago,
   Illinois 60630; Defendant Rafael Medina is working for 17th District CPD, which is currently
   located at 4650 N Pulaski Rd, Chicago, Illinois 60630; Defendant Timothy Beran is working for
   17th District CPD, which is currently located at 4650 N Pulaski Rd, Chicago, Illinois 60630; and
   Defendant David Wu is working for 17th District CPD, which is currently located at 4650 N
   Pulaski Rd, Chicago, Illinois 60630.

3. On or about June 13, 2021 at approximately 7:00 PM, pro se Plaintiff was illegally removed,
   publicly humiliated, publicly denied with public accommodation, and falsely accused for
   criminal trespass to real property by Defendant Starbucks Corporation, doing business as
   Starbucks Coffee#58413 and Defendant Alyssa Trippiedi even though pro se Plaintiff was a
   Starbucks Reward Account holder and a customer during the alleged incident.

4. On or about June 13 at approximately 7:45 PM, 2021, Defendants City of Chicago Department
   of Police, 17th District, Krzysztof Zagozdon, Umer Khan, Patrick G. Eberlin, Sargon Oshana,
   Irfan Ibrahimovic, Jean-Pierre Mahe, and Nancy Rivera falsely arrested and charged pro se
   Plaintiff for criminal trespass to real property in the parking lot of The Jaffe Companies or
   outside the premises of Defendant Starbucks Corporation, doing business as Starbucks
   Coffee#58413. Defendant Rafael Medina knowingly, unlawfully, intentionally, and negligently
   approved the original case incident report or R.D. No. JE264805.

5. On or about June 14, 2021 at approximately 1:00 PM, pro se Plaintiff filed an original case
   incident report about his missing credit card, Capital One Platinum Mastercard, to City of
   Chicago Department of Police, 17th District's administrative clerk, an African-American
   woman, while my CPD Personal Property Invoice Numbers 14924662 and 14924663 were
   under the custody of 17th District CPD and my small red-bag was under the custody of 16th
   District CPD. This original case incident report generated an R.D. No. JE265043, which was
   connected to public accommodation violation by Starbucks employees on or about June 13,
   2021. Defendant Timothy Beran knowingly, unlawfully, intentionally, and negligently
   approved the original case incident report or R.D. No. JE265043.

6. Defendant David Wu was a lieutenant of the City of Chicago Department of Police, 17th
   District, during my custody with 17th District CPD's Group A Holding Room. Further,
   Defendant David Wu monitored my temporary detention at 17th District CPD and when I
   personally inventoried my personally property prior to filing a police report. Defendant David
   Wu was one of the signatories of my personal properties.

                                      BACKGROUND

                                               3
          Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 4 of 231 PageID #:4



    7. On or about June 13, 2021, pro se Plaintiff was a 33-year-old, a single Asian-American male of
       Filipino American descent. Pro Se Plaintiff was born in Pampanga, Philippines and raised in
       Chicago, Cook County, Illinois 60630.1 Pro Se Plaintiff is an alumni of Chicago Public
       Schools, both middle school and high school. In 2001, pro se Plaintiff studied and completed
       middle school at Lyman A. Budlong Elementary School.2 In 2005, pro se Plaintiff studied and
       completed high school diploma at Roald Amundsen High School.3 In 2006, pro se Plaintiff
       enlisted and completed United States (U.S.) Army Basic Training and his first military
       occupational specialty, Motor Transport Operator, at the U.S. Army Transportation School in
       Fort Leonard Wood, Missouri.4 In 2009, pro se Plaintiff completed Bachelors of Art (“BA”) in
       Economics at the Northeastern Illinois University (“NEIU”);5 at the same year, pro se Plaintiff
       also completed pro se Plaintiff's second military occupational specialty (“MOS”), Psychological
       Operations Specialist, at the U.S. Army John F. Kennedy Special Warfare Center and School.6
       In 2011, pro se Plaintiff fulfilled and completed all Master's degree requirements between Fall
       2010 and Summer 2011 for Master of Science in Policy Economics at the University of Illinois
       at Urbana-Champaign (“UIUC”).7

    8. Pro Se Plaintiff has no history of criminal record for the past 19 years.8 Pro Se Plaintiff served
       in the United States Army (“USA”), United States Army Reserve (“USAR”) and Illinois Army
       National Guard (“ILARNG”) between March 2006 and February 2017. As a service member of
       the United States, (“U.S.”), pro se Plaintiff has no crime records and investigative files with
       USA between March 2006 and February 2017. Pro Se Plaintiff is not in the FBI's most wanted
       watch list, and has no crime records and investigative files between 2001 and 2017. Pro Se
       Plaintiff has no crime records and investigative files with U.S. Drug Enforcement
       Administration (“DEA”) between 2001 and 2017. Pro Se Plaintiff has no crime records and
       investigative files with U.S. Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”)
       between 2001 and 2017. Plaintiff has no crime records and investigative files with U.S. Secret
       Service (“Secret Service”) between 2001 and 2017. Pro Se Plaintiff has no crime records and
       investigative files with U.S. Marshals Service (“USMS”) between 2001 and 2017. Pro Se
       Plaintiff has no crime records and investigative files with State of Illinois Department of State
       Police, also known as Illinois State Police (“ISP”) between 2001 and 2017. Pro Se Plaintiff has
       no crime records and investigative files with Cook County Sheriff's Office (“CCSO”) between
       2001 and 2017. Pro Se Plaintiff has no arrest records and investigative files with Defendant
       City of Chicago Department of Police between 2001 and 2017.

    9. In 2018, pro se Plaintiff clears three criminal background checks from three different
       employers9. Board of Education of the City of Chicago, also known as Chicago Board of
1
          See Exhibit G: Review pro se Plaintiff's U.S. Passport, Illinois Driver's License and Schools' transcripts and
schedules; Please visit pro se Plaintiff's Linkedin profile: https://www.linkedin.com/in/jeric0mcruz ; and personal website:
https://jeric0mcruz.wordpress.com.
2
          See Exhibit G: Review pro se Plaintiff's Lyman A. Budlong Elementary School registration card.
3
          See Exhibit G: Review pro se Plaintiff's Roald Amundsen High School transcript.
4
          See Exhibit G: Review pro se Plaintiff's military record.
5
          See Exhibit G: Review pro se Plaintiff's NEIU transcript.
6
          See Exhibit G: Review pro se Plaintiff's military record.
7
          See Exhibit G: Review pro se Plaintiff's UIUC schedule.
8
          See Exhibits E and F: Pro Se Plaintiff's federal and state criminal investigative files and records.
9
          See Exhibit G: Pro Se Plaintiff's ISP and FBI Criminal Background Checks: CPS, UGE, and CPD.

                                                              4
          Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 5 of 231 PageID #:5


        Education (“CBOE”) and Chicago Public Schools (“CPS”) conducts a comprehensive ISP and
        FBI Criminal Background Check; and Mercy Medical Group's (“MMG”) drug test with a legal
        consent from pro se Plaintiff. United Ground Express, Inc. (“UGE”), a subsidiary company of
        United, collaboratively work with U.S. Department of Homeland Security (“DHS”) to
        fingerprint pro se Plaintiff to clear an identification card from Chicago O'Hare International
        Airport (“ORD”) to pass the secured area. Defendant City of Chicago Department of Police
        Headquarters Personnel conduct a comprehensive ISP and FBI Criminal Background Check,
        and Forensic Hair Drug Analysis and Urinalysis on-site during the pre-employment process. On
        or about July and August 2018, Kentech Consulting, Inc. conducts another pro se Plaintiff's
        comprehensive criminal background check with fabricated written narrative, results, and
        executive summary, including falsely alarming the entire staff of Kentech Consulting, Inc. of
        pro se Plaintiff's behaviors based entirely on false perception from a phone conversation.10
        Theodore Polygraph Service, Inc. also falsifies the written narrative of the polygraph
        examination report submitted to Defendant 1 in which pro se Plaintiff did not take polygraph
        examination at all. Kentech Consulting, Inc. and Theodore Polygraph Service, Inc. are third-
        party and local government contractors of the City of Chicago.

     10. On or about April 2020, pro se Plaintiff applies for Permanent Employee Registration Card11
         (“PERC”) from the State of Illinois Department of Financial and Professional Regulation
         (“IDFPR”). Accurate Biometrics, Inc. (“Accurate Biometrics”) is a third-party vendor that
         provides fingerprint service to potential employees of private companies and public
         organizations. Accurate Biometrics has fingerprinted pro se Plaintiff to conduct ISP and FBI
         comprehensive Criminal Background Check on behalf of State of Illinois Department of
         Financial and Professional Regulation (“IDFPR”). Pro Se Plaintiff submits a complete PERC
         application and pays $55.00 plus tax to IDFPR to process pro se Plaintiff's PERC application.
         IDFPR receives and processes pro se Plaintiff's PERC application and eventually issues pro se
         Plaintiff's PERC license no. 129449018.

     11. On or about September 1, 2020, pro se Plaintiff appeared at the Circuit Court of Cook County,
         Illinois First Municipal District Branch 23 Room no. 2. The Circuit Court of Cook County's
         Deputy Sheriff informs pro se Plaintiff about the current situation of Circuit Court of Cook
         County of First Municipal District Branch 23 Room no. 2 due to COVID-19 Pandemic, and so,
         the Judge and courtroom's activities are conducted via Zoom meeting. The Deputy Sheriff
         shows the displayed notice posted in the glass wall of the Circuit Court of Cook County. The
         Circuit Court of Cook County of First Municipal District Branch 23 Room no. 2 dismisses pro
         se Plaintiff's criminal misdemeanor case. Pro Se Plaintiff returns to Circuit Court of Cook
         County of First Municipal District Branch 23 Room no. 2 the following day to pick up pro se
         Plaintiff's disposition. The disposition indicates pro se Plaintiff's criminal misdemeanor case is
         dismissed, or pro se Plaintiff's criminal charges are stricken off – leave to reinstate12, without a
         criminal conviction. This disposition belongs to Defendant City of Chicago Department of
         Police, 16th District CPD peace officers who respond to 9-11 call on Wednesday, August 5,
         2020 at the Jefferson Park Branch Library and then unlawfully arrest and falsely imprison pro
         se Plaintiff between four and five hours due to COVID-19 Pandemic.
10
   See Jerico Matias Cruz v. City of Chicago Department of Police, 2019CH12268; Jerico Matias Cruz v. City of Chicago
Department of Police et al., et al., 2020L062054; Jerico Matias Cruz v. City of Chicago et al, et al. 1:20-cv-01783.
11
   See Exhibit A: Pro Se Plaintiff's PERC License and ISP and FBI Criminal Background Check.
12
   See Exhibit C: 16th District CPD Disposition.

                                                           5
         Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 6 of 231 PageID #:6



     12. On or about October 15, 2020, pro se Plaintiff files a petition to expunge and impound criminal
         records. On or about March 31, 2021, pro se Plaintiff's petition to expunge and impound
         criminal records is granted. Pro Se Plaintiff's Order to Expunge and Impound Criminal
         Records13 states the following: (1) “The above Arresting Agency and the Chicago Police
         Department shall expunge the arrest(s) from its records, if any, within sixty (60) days of the
         date of service of this order. It is further directed that the Arresting Agency shall request the
         return of all identification materials from any other repositories and custodians of statistics that
         were previously notified of this arrest(s) by the Arresting Agency;” (2) “The Circuit Court
         Clerk shall impound the record of this arrest until further order of the court upon good cause
         shown and shall obliterate the name of the Petitioner on the official index;” (3) “The Illinois
         State Police, Bureau of Identification, shall expunge (or impound, if required by law) their files
         of the record of this arrest(s) within sixty (60) days of the date of service of this order;” (4)
         “This order shall not become effective until thirty (30) days after entry;” and (5) “In accordance
         with the law of protection, civil no contact orders, civil no contact stalking orders and minor
         traffic orders shall not be expunged and impounded.”

     13. On or about June 13, 2021 at 4:39 PM, pro se Plaintiff enters to Defendant Starbucks
         Corporation, doing business as Starbucks Coffee#58413's premise or in-store to pickup pro se
         Plaintiff's grande Starbucks cold brew coffee, which costs $4.37, including Illinois sales tax,
         while using pro se Plaintiff's Defendant Starbucks Corporation, doing business as Starbucks
         Coffee#58413 rewards account online and picking up his purchased item in-store.14 Pro Se
         Plaintiff asks one of the employees of Defendant Starbucks Corporation, doing business as
         Starbucks Coffee#58413, who calls herself the supervisor, Defendant Alyssa Trippiedi, for help
         purchasing using pro se Plaintiff's Starbucks rewards account online because pro se Plaintiff is
         unable to see or locate the purchased item online in contrast to the drink, Freshly Brewed
         Coffee, which costs approximately $2.95 plus Illinois sales tax. While pro se Plaintiff is in-
         store, pro se Plaintiff is using pro se Plaintiff's laptop to connect to Defendant Starbucks
         Corporation, doing business as Starbucks Coffee#58413's public WiFi network in-store, while
         Defendant Starbucks Corporation, doing business as Starbucks Coffee#58413's radio is turned
         on and the sound of the radio is somewhat louder than usual. Pro Se Plaintiff is also talking to
         somebody on pro se Plaintiff's personal phone, a smartphone, while sipping or drinking pro se
         Plaintiff's Starbucks purchased item from the store and using Defendant Starbucks Corporation,
         doing business as Starbucks Coffee#58413's public WiFi network. One of the employees asks
         pro se Plaintiff if pro se Plaintiff is okay while pro se Plaintiff is using pro se Plaintiff's
         smartphone inside the store, while pro se Plaintiff is talking to somebody, and while Defendant
         Starbucks Corporation, doing business as Starbucks Coffee#58413's radio is turned on and
         louder than usual. Pro Se Plaintiff replies, “Yes, I am okay,” and also gives Defendant
         Starbucks Corporation, doing business as Starbucks Coffee#58413's employee a thumb's up.
         Defendant Alyssa Trippiedi tells pro se Plaintiff to go outside the Starbucks, specifically in the
         patio area where pro se Plaintiff can sit on one of the tables outside and scolds pro se Plaintiff,
         “You are making too much noise inside the store.”

     14. Pro Se Plaintiff looks around and check if there is a customer other than himself. Pro Se
         Plaintiff sees nobody inside the store during that time. Pro Se Plaintiff replies, “No, I am
13
        See Exhibit D: Pro Se Plaintiff's Expungement Records.
14
        See Exhibit I: Pro Se Plaintiff's Starbucks Membership and Purchase History.

                                                           6
         Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 7 of 231 PageID #:7


        staying inside. I am not making any noise.” The supervisor, Defendant Alyssa Trippiedi, only
        wants pro se Plaintiff to stay outside Defendant Starbucks Corporation, doing business as
        Starbucks Coffee#58413's premise and not leave the vicinity of Defendant Starbucks
        Corporation, doing business as Starbucks Coffee#58413, while pro se Plaintiff is on pro se
        Plaintiff's phone. Pro Se Plaintiff does not know why there is a 9-11 call for this unlawful arrest
        committed by Defendant City of Chicago Department of Police, 17th District CPD peace
        officers: Defendants Krzysztof Zagozdon, Umer Khan, Patrick G. Eberlin, Sargon Oshana, Irfan
        Ibrahimovic, Jean-Pierre Mahe, and Nancy Rivera. Defendants Krzysztof Zagozdon and Umer
        Khan respond to 9-11 call made from 4715 W Foster Ave, Chicago, Illinois 60630. Defendants
        Krzysztof Zagozdon and Umer Khan ask pro se Plaintiff to leave the vicinity of Defendant
        Starbucks Corporation, doing business as Starbucks Coffee#58413, while pro se Plaintiff is
        inside the Defendant Starbucks Corporation, doing business as Starbucks Coffee#58413's
        premise. Defendants Krzysztof Zagozdon and Umer Khan accuse pro se Plaintiff of criminal
        trespassing, while pro se Plaintiff is a legitimate customer of Defendant Starbucks Corppration,
        doing business as Starbucks Coffee#58413. Defendant Alyssa Trippiedi fails to follow the store
        policy and pro se Plaintiff feels that he is being discriminated as a customer and as a Defendant
        Starbucks Corporation, doing business as Starbucks Coffee#58413 rewards account holder.
        Defendants Krzysztof Zagozdon and Umer Khan accuses pro se Plaintiff of criminal trespassing
        while pro se Plaintiff is not violating any store policy, Chicago Municipal Code, Illinois
        Criminal Statutes, and Federal Criminal Statutes.15

     15. The exchange of statements continue about the Illinois laws, specifically Illinois criminal laws,
         between pro se Plaintiff and Defendants Krzysztof Zagozdon and Umer Khan about the Illinois
         criminal laws that Defendants Krzysztof Zagozdon and Umer Khan are trying to enforce, while
         they are normally performing their patrol duty during their watch inside their beat or their
         specific jurisdiction. When pro se Plaintiff decides to go outside the Defendant Starbucks
         Corporation, doing business as Starbucks Coffee#58413, Defendant Alyssa Trippiedi tells pro
         se Plaintiff earlier that to stay in the patio area, but Defendants Krzysztof Zagozdon and Umer
         Khan tell pro se Plaintiff to leave the vicinity of Defendant Starbucks Corporation, doing
         business as Starbucks Coffee#58413. Pro Se Plaintiff asks Defendants Krzysztof Zagozdon and
         Umer Khan to call Defendant Alyssa Trippiedi to confirm her statement about the accusation of
         criminal trespassing. Pro Se Plaintiff asks the supervisor, “Did you tell me to go outside the
         Starbucks?” Defendant Alyssa Trippiedi says, “Yes.” When pro se Plaintiff is done asking
         question(s), pro se Plaintiff decides to leave when Defendants Patrick G. Eberlin, Sargon
         Oshana, Irfan Ibrahimovic, Jean-Pierre Mahe, and Nancy Rivera, arrive on the scene. Pro Se
         Plaintiff asks Defendant Patrick G. Eberlin, the supervisor on the scene, about the laws that they
         are trying to enforce. When pro se Plaintiff is trying to take a video and is trying to get their
         names, Defendants Krzysztof Zagozdon, Umer Khan, Patrick G. Eberlin, Sargon Oshana, Irfan
         Ibrahimovic, Jean-Pierre Mahe, and Nancy Rivera unlawfully arrest pro se Plaintiff in the
         parking lot of Eden Collections managed by The Jaffe Companies. Defendants Krzysztof
         Zagozdon, Umer Khan, Patrick G. Eberlin, Sargon Oshana, Irfan Ibrahimovic, Jean-Pierre
         Mahe, and Nancy Rivera charges pro se Plaintiff of criminal trespass to real property without a
         probable cause, while pro se Plaintiff is asking for their names, so that pro se Plaintiff can file
         complaint to Civilian Office of Police Accountability (“COPA”) of the unlawful arrest and
         falsification of criminal charges.
 See Exhibit M: Review 17th District CPD peace officers' bodycam footages requested via Illinois Freedom of Information
15

Act.

                                                           7
         Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 8 of 231 PageID #:8



     16. On or about June 13, 2021, Defendants City of Chicago Department of Police, 17th District,
         Krzysztof Zagozdon, Umer Khan, Patrick G. Eberlin, Sargon Oshana, Irfan Ibrahimovic, Jean-
         Pierre Mahe, and Nancy Rivera unlawfully arrest pro se Plaintiff outside Defendant Starbucks
         Corporation, doing business as Starbucks Coffee#58413. When pro se Plaintiff is detained
         inside Group A Holding Room, Defendants Krzysztof Zagozdon and Umer Khan perform an
         inventory of pro se Plaintiff's personal belongings using the Form CPD-34.523 (REV. 10/09)
         with Invoice No. 14924662 and PKG No. 5679427 and Invoice No. 14924663 and PKG No.
         5679429.16 On or about June 13-14, 2021, pro se Plaintiff's personal belongings stay in
         Defendant City of Chicago Department of Police, 17th District's custody between 7:45 PM and
         1:30 AM. Although Defendants Krzysztof Zagozdon and Umer Khan transfer pro se Plaintiff to
         Defendant City of Chicago Department of Police, 16th District, for fingerprinting and
         photographing, pro se Plaintiff's (1) U.S. Army desert belt, (2) U.S. Army Combat boots laces,
         (3) IL Driver's License Card, (4) personal card and $20.00 in the bag, (5) U.S. Army Cold
         Weather Jacket, and (6) SUV/Car Key go/follow/transfer with pro se Plaintiff to Defendant City
         of Chicago Department of Police, 16th District's custody. Defendants Krzysztof Zagozdon and
         Umer Khan tell pro se Plaintiff to go back to Defendant City of Chicago Department of Police,
         17th District, to pick up pro se Plaintiff's personal belongings. Defendant City of Chicago
         Department of Police's 17th District and 16th District personnel search pro se Plaintiff and
         inventory whatever personal belongings that pro se Plaintiff has during pro se Plaintiff's
         detention, while pro se Plaintiff is under their custody.

     17. When Defendant City of Chicago Department of Police, 16th District's detention aide releases
         pro se Plaintiff from their custody, detention aide returns pro se Plaintiff's six (6) personal
         belongings. Ofc. [name not clearly stated on I-Bond no. I8759320] with Star no. 1651 prepares
         the I-Bond for pro se Plaintiff to sign. Defendant 1, Ofc. (Unknown) with Star no. 1651 has to
         countersign the I-Bond, too. And then pro se Plaintiff put pro se Plaintiff boots laces and belt
         on; and pro se Plaintiff put his personal card, IL Driver's License card, and $20.00 into one of
         his Khaki pant's pocket and his black Honda Pilot's key into the other pocket. Pro Se Plaintiff
         has to return to Defendant Starbucks Corporation, doing business as Starbucks Coffee#58413's
         parking lot of Eden Collection Project managed by The Jaffe Companies, to retrieve pro se
         Plaintiff's black Honda Pilot.

     18. Pro Se Plaintiff has to walk for 1.1 miles from Defendant City of Chicago Department of
         Police,16th District, which is located at 5151 N Milwaukee Ave, Chicago, Illinois 60630 to
         Defendant Starbucks Corporation, doing business as Starbucks Coffee#58413's parking lot of
         Edens Collection managed by The Jaffe Companies that is located at 4715 W Foster Ave,
         Chicago, Illinois 60630, which is approximately twenty-two (22) minutes.17 Pro Se Plaintiff
         drive from Starbucks Corporation, doing business as Starbucks Coffee#58413's parking lot to
         Defendant City of Chicago Department of Police, 17th District, to retrieve pro se Plaintiff's
         personal belongings. Pro Se Plaintiff starts driving from Defendant Starbucks Corporation,
         doing business as Starbucks Coffee#58413's parking lot, Seafood City's parking lot, and then
         pro se Plaintiff turns left to Elston Ave and pro se Plaintiff also turns left on Lawrence Ave, and
         then pro se Plaintiff turns right to N Pulaski Rd toward Defendant City of Chicago Department
         of Police, 17th District, which takes approximately about seven (7) minutes. From hereon, pro
16
        See Exhibit J: Pro se Plaintiff's Evidence-Property Envelope.
17
        See Exhibit H: Two Maps from 16th District CPD to Starbucks and then from Starbucks to 17th District CPD.

                                                          8
          Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 9 of 231 PageID #:9


        se Plaintiff has spoken to Defendant City of Chicago Department of Police, 17th District Ofc.
        Laqui, Defendant David Wu, and 17th District's administrative clerk, a female African-
        American descent, when pro se Plaintiff arrives at Defendant City of Chicago Department of
        Police, 17th District's lobby area. Pro se Plaintiff shows his two-page invoices and Defendant
        City of Chicago Department of Police, 17th District's administrative clerk, returns pro se
        Plaintiff's personal belongings.

     19. On or about June 14, 2021 at approximately 12:30 AM, pro se Plaintiff personally inventories
         pro se Plaintiff's personal belongings: pro se Plaintiff's personal items inside pro se Plaintiff's
         green bag; personal items inside pro se Plaintiff's black wallet; and other pro se Plaintiff's
         laptop, laptop's adapter, and pro se Plaintiff's Modern Real Estate Practice in Illinois Edition 10
         textbook.18 Pro se Plaintiff removes all his personal belongings from pro se Plaintiff's green bag
         and black wallet, laptop's adapter from the laptop's adapter box, and lay down all pro se
         Plaintiff's personal belongings in the countertop of Defendant City of Chicago Department of
         Police, 17th District's lobby area. Pro se Plaintiff explains to Defendant David Wu and
         Defendant City of Chicago Department of Police, 17th District's administrative clerk that pro se
         Plaintiff is missing pro se Plaintiff's Capital One Platinum credit card. Defendant City of
         Chicago Department of Police, 17th District's administrative clerk initiates an original case
         incident report with an RD No. JE265043 with IUCR Code: 5093, or stolen or lost property.
         Approving supervisor, Defendant Timothy Beran with Star no. 2556, approves the police report
         with false narrative as stated: "In Summary, [V] Cruz, Jerico walked into the 17th District to
         report this incident. Victim related that his capital one platinum card was last seen inside his
         wallet. Around 0100 hrs he discovered his card missing. vin was given.”

                                                LEGAL STANDARD

     20. U.S. District Court for the Northern District of Illinois operates under the U.S. Constitution,
         U.S. Code, Code of Federal Regulations, U.S. Supreme Court Rules, and U.S. President's
         Executive Orders.

     21. Civil proceedings enacted upon the codified rules of Federal Rules of Civil Procedure.19 28 U.S.
         Code Section 723 (b); 28 U.S. Code Section 723(c); 28 U.S. Code Section 28 1343; 28 U.S.
         Code Section 1367; 28 U.S. Code Section 2072.

     22. Civil proceedings also follow the codified rules of Local Rules of the U.S. District Court for
         Northern District of Illinois.

     23. U.S. District Court for Northern District of Illinois adjudicates prima facie evidence and
         material facts in accordance with pro se Plaintiff's pleading. Defendants shall be held
         accountable to answer pro se Plaintiff's pleading after issuance of summon within twenty-one
         (21) days, excluding Federal legal holidays. Any responsive Federal statutes or laws should be
         applied when U.S. District Court for the Northern District of Illinois cross-examine prima facie
         evidence and materia facts by following Federal Rules of Civil Procedure, Federal Rules of
         Evidence, and Local Rules of the U.S. District Court for the Northern District of Illinois during
18
          See Exhibit L: pro se Plaintiff's Personal Belongings, such as Real Estate Textbook, Laptop Adapter, Greenbag,
etc.
19
   See Clark and Moore, A New Federal Civil Procedure-I. The Background, 44 Yale L.J. 387, 391 (1935).

                                                             9
   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 10 of 231 PageID #:10


   Civil proceedings.

24. Pursuant to Federal Rules of Civil Procedure and Local Rules of the U.S. District Court for the
    Northern District of Illinois, pro se Plaintiff's complaint or pleading follows the codified rules
    of Federal Rules of Civil Procedure and Local Rules of the U.S. District Court for the Northern
    District of Illinois when adjudicating U.S. District Court for the Northern District of Illinois'
    Federal civl cases, which include the Federal Civil Rights Act, 42 U.S. Code Sections 1983,
    1985(3), and 1986, 42 U.S. Code Section 2000(a), (b), and (e). Pro Se Plaintiff's complaint or
    pleading is perfectly file on proper venue; pro se Plaintiff's complaint is lawfully dealt with
    subject matter jurisdiction and personal jurisdiction; and pro se Plaintiff's complaint is
    constructed simply and conservatively guided by Federal Rules of Civil Procedure and Local
    Rules of the U.S. District Court for the Northern District of Illinois. Pro Se Plaintiff's complaint
    or pleading enumerates a list of material facts that have been photographed, photocopied, audio
    recorded, and/or video recorded; prima facie evidence from pro se Plaintiff's Exhibits A-M; and
    other material facts and prima facie evidence related to pro se Plaintiff's civil case.

25. Honorable Court allows to grant pro se Plaintiff to use the power of subpoena and expert
    witness during the cross-examination of prima facie evidence and material facts. Pro Se
    Plaintiff and Defendants have an authority to answer to discovery, interrogatories, and/or
    depositions during the arraignment and/or discovery or at a later date and time through oral
    and/or written motions and/or petitions. Any additional material facts and prima facie evidence
    attached to pro se Plaintiff's complaint is considered an Exhibit and/or Affidavit that can be
    used during cross-examination.

26. Previous adjudicated Federal civil cases relevant to pro se Plaintiff's civil case could be cited
    and/or mentioned on written statement and/or an oral argument for cross-examination of prima
    facie evidence and material facts with respect to Federal Rules of Civil Procedure and Local
    Rules of the U.S. District Court for Northern District of Illinois. Pro Se Plaintiff and Defendants
    have a liberty to present previous Federal civil case with written statements and/or oral
    arguments without violating the codified rules of Federal Rules of Civil Procedure and Local
    Rules of the U.S. District Court for the Northern District of Illinois. Any violation of Federal
    Rules of Civil Procedure and Local Rules of the U.S. District Court for the Northern District of
    Illinois cannot be waived and be granted by a U.S. District Court for the Northern District of
    Illinois judge, and therefore, pro se Plaintiff's complaint or pleading is subject to dismissal ditto
    to Defendants to pro se Plaintiff's complaint or pleading.

                                          ARGUMENT

27. Section 1983 of the Federal Civil Rights Act indicates that anyone who has been deprived with
    legal rights can initiate a federal civil action.

           “Every person who, under color of any statute, ordinance, regulation,
           custom, or usage, of any State of Territory or the District of Columbia,
           subjects, or causes to be subjected, any citizen of the United States or
           other person within the jurisdiction thereof to the deprivation of any
           rights, privileges, or immunities secured by the Constitution and laws,
           shall be liable to the party injured in an action at laws, suit in equity, or

                                                 10
   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 11 of 231 PageID #:11


           other proper proceeding for redress....” 42 U.S. Code Section 1983.

28. Section of 1985(3) of the Federal Civil Rights Act shows that two or more individuals cannot
    deprive a person's legal rights, privileges, or immunities because each person's legal rights,
    privileges, or immunities are subject to equal protection of the laws of the Fourteen Amendment
    of the U.S. Constitution.

           “If two or more persons in any State or Territory conspire or go in
           disguise on the highway or on the premises of another, for the purpose of
           depriving, either directly or indirectly, any person or class of persons of
           the equal protection of the laws, or of equal privileges and immunities
           under the laws....” 42 U.S. Code Section 1985(3).

29. Section of 1986 of the Federal Civil Rights Act demonstrates that anyone who conspires to
    commit a wrongful act and has prior knowledge of such wrongful act is liable to injured party.

           “Every person who, having knowledge that any of the wrongs conspired
           to be done, and mentioned in Section 1985 of this title, are about to be
           committed, and having power to prevent or aid in preventing the
           commission of the same, neglects or refuses so to do, if such wrongful
           act be committed, shall be liable to the party injured, or his legal
           representatives, for all damages caused by such wrongful act, which such
           person by reasonable diligence could have prevented....” 42 U.S. Code
           Section 1986.

30. Section of 2000(a) of the Federal Civil Rights Act states that everyone has equal access and
    equal enjoyment of goods, services, and facilities that accommodate the public.

           “All persons shall be entitled to the full and equal enjoyment of the
           goods, services, facilities, privileges, advantages, and accommodations of
           any place of public accommodation, as defined in this section, without
           discrimination or segregation on the ground of race, color, religion, or
           national origin.” 42 U.S. Code Section 1986(a).

31. Section of 2000(b)(2) of the Federal Civil Rights Act states that any interstate commerce
    activities supported by State action of such place of public accommodation are protected by
    U.S. Constitution and laws.

           “Each of the following establishments which serves the public is a place
           of public accommodation within the meaning of this subchapter if its
           operations affect commerce, or if discrimination or segregation by it is
           supported by State action: any restaurant, cafeteria, lunchroom, lunch
           counter, soda fountain, or other facility principally engaged in selling
           food for consumption on the premises, including, but not limited to, any
           such facility located on the premises of any retail establishment; or any
           gasoline station....” 42 U.S. Code Section 2000(b)(2).


                                               11
   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 12 of 231 PageID #:12


32. Section of 2000(e) of the Federal Civil Rights Act states that any private clubs or
    establishments not open to the public are excepted or excluded to this Act.

           “The provision of this subchapter shall not apply to a private club or
           other establishment not in fact open to the public, except to the extent
           that the facilities of such establishment are made available to the
           customers or patrons of an establishment within the scope of subsection
           (b)....” 42 U.S. Code Section 2000(e).

                                         CONCLUSION

WHEREFORE, pro se Plaintiff prays for the Honorable Court to grant the following relief:

(1) Order to the Honorable Court to grant pro se Plaintiff's temporary injunction while Defendants
    are awaiting for the result of Federal civil jury trial at the U.S. District Court for the Northern
    District of Illinois;

(2) Order to the Honorable Court to grant pro se Plaintiff's permanent injunction against
    Defendants once the civil jury trial is final;

(3) Order to the Honorable Court to grant pro se Plaintiff's punitive damages, and/or equitable
    remedy to prevent Defendants causing more injuries or harmful damages to pro se Plaintiff's
    health and well-being, and/or if Defendants fail to obey the court-ordered injunction once it is
    fully implemented by the Honorable Court.

(4) Other reliefs in accordance with responsive and applicable U.S. Constitution and laws.


    Dated: December 29, 2021                      Respectfully Submitted by,

                                                 _/s/ Jerico Matias Cruz
                                                 Jerico Matias Cruz
                                                 5135 N Keating Ave
                                                 Chicago, Illinois 60630
                                                 theconsultantoo0oo@gmail.com or
                                                 j-cruz7@neiu.edu
                                                 (847) 906-3123
                                                 Pro Se Litigant




                                                 12
  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 13 of 231 PageID #:13




       Exhibit A:
   Permanent Employee
    Registration Card
       (“PERC”)

• PERC License
• PERC's ISP and FBI Comprehensive Criminal Background
  Check on Behalf of Illinois Department of Financial and
  Professional Regulation
Print Lookup Details                                           https://online-dfpr.micropact.com/Lookup/PrintLicenseDetails.aspx?c...
                       Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 14 of 231 PageID #:14



                                                                Illinois Department of Financial and
                                                                Professional Regulation




         Lookup Detail View
         Contact
         Contact Information
          Name                                         City/State/Zip                          DBA / AKA

          JERICO MATIAS CRUZ                           Chicago, IL 60630



         License
         License Information
                                                          First
          License                                         Eﬀective         Eﬀective       Expiration      Ever
          Number           Description           Status   Date             Date           Date            Disciplined

          129449018        PERMANENT             ACTIVE 04/20/2020         02/02/2021     05/31/2024      N
                           EMPLOYEE
                           REGISTRATION



         Generated on: 7/12/2021 12:16:25 AM




1 of 1                                                                                                              7/12/21, 12:16 AM
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 15 of 231 PageID #:15
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 16 of 231 PageID #:16
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 17 of 231 PageID #:17




      Exhibit B:
Misdemeanor Complaints
•   Criminal Trespass to State Supported Land
•   Breach of Peace
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 18 of 231 PageID #:18
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 19 of 231 PageID #:19
  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 20 of 231 PageID #:20




       Exhibit C:
 Certified Statement of
Conviction / Disposition
• Certified Statement of Conviction / Disposition
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 21 of 231 PageID #:21
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 22 of 231 PageID #:22
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 23 of 231 PageID #:23
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 24 of 231 PageID #:24
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 25 of 231 PageID #:25
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 26 of 231 PageID #:26
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 27 of 231 PageID #:27
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 28 of 231 PageID #:28
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 29 of 231 PageID #:29
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 30 of 231 PageID #:30
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 31 of 231 PageID #:31
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 32 of 231 PageID #:32




        Exhibit D:
    Expungement Records
•   Order to Expunge and Impound Criminal Records
•   CPD Disposition, ISP Disposition & Field Report
•   CPD Videos Involvement
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 33 of 231 PageID #:33
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 34 of 231 PageID #:34
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 35 of 231 PageID #:35
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 36 of 231 PageID #:36
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 37 of 231 PageID #:37
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 38 of 231 PageID #:38
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 39 of 231 PageID #:39
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 40 of 231 PageID #:40




               Exhibit D:
             th
           16 District CPD
                Videos
•   Pro Se Plaintiff's Smartphone Video
•   CPD Peace Officers' Bodycam Footages
       Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 41 of 231 PageID #:41




                                             Videos

I. Go to www.youtube.com; search for: Quanta Strategies LLC.

II. See the following hyperlinks below:
         1. https://www.youtube.com/channel/UC9bB7EqoLr-
            HVoNU2B43V8Q
         2. https://www.youtube.com/watch?v=m2xn3hUl-_g
         3. https://www.youtube.com/watch?v=S0cF73JMyAE



Caveat:

These videos are protected by Illinois Eavesdropping Act. Quanta Strategies, LLC is the
custodian/distributor of these videos.
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 42 of 231 PageID #:42




        Exhibit G: Other
      Personal Identifiable
      Information (“PII”)
•   Other PII – 2019 CH 12407
•   United Airlines Holding, Inc./Sterling Talent Solutions
    Criminal Background Check
                                           Case:
                       Return Date: No return     1:21-cv-06916
                                               date scheduled    Document   #: 1 Filed: 12/29/21 Page 43 of 231 PageID #:43
                       Hearing Date: 2/24/2020 10:30 AM - 10:30 AM
                       Courtroom Number: 2102
                       Location: District 1 Court                                                                 FILED
                               Cook County, IL                                                                    10/24/2019 3:52 PM
                                                                                                                  DOROTHY BROWN
                                                                                                                  CIRCUIT CLERK
                                                                                                                  COOK COUNTY, IL
FILED DATE: 10/24/2019 3:52 PM 2019CH12407




                                                                                                                  2019CH12407

                                                                                                                  7099674
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 44 of 231 PageID #:44


                                                                                                                   FILED
                                                                                                                  10/24/2019 3:52 PM
                                                                                                                  DOROTHY BROWN
                                                                                                                  CIRCUIT CLERK
FILED DATE: 10/24/2019 3:52 PM 2019CH12407




                                                                                                                  COOK COUNTY, IL
                                                                                                        2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 45 of 231 PageID #:45
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 46 of 231 PageID #:46
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 47 of 231 PageID #:47
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 48 of 231 PageID #:48
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 49 of 231 PageID #:49
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 50 of 231 PageID #:50
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 51 of 231 PageID #:51
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 52 of 231 PageID #:52
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 53 of 231 PageID #:53
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 54 of 231 PageID #:54
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 55 of 231 PageID #:55
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 56 of 231 PageID #:56
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 57 of 231 PageID #:57
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 58 of 231 PageID #:58
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 59 of 231 PageID #:59
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 60 of 231 PageID #:60
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 61 of 231 PageID #:61
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 62 of 231 PageID #:62
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 63 of 231 PageID #:63
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 64 of 231 PageID #:64
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 65 of 231 PageID #:65
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 66 of 231 PageID #:66
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 67 of 231 PageID #:67
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 68 of 231 PageID #:68
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 69 of 231 PageID #:69
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 70 of 231 PageID #:70
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 71 of 231 PageID #:71
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 72 of 231 PageID #:72
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 73 of 231 PageID #:73
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 74 of 231 PageID #:74
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 75 of 231 PageID #:75
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 76 of 231 PageID #:76
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 77 of 231 PageID #:77
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 78 of 231 PageID #:78
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 79 of 231 PageID #:79
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 80 of 231 PageID #:80
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 81 of 231 PageID #:81
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 82 of 231 PageID #:82
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 83 of 231 PageID #:83
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 84 of 231 PageID #:84
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 85 of 231 PageID #:85
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 86 of 231 PageID #:86
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 87 of 231 PageID #:87
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 88 of 231 PageID #:88
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 89 of 231 PageID #:89
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 90 of 231 PageID #:90
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 91 of 231 PageID #:91
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 92 of 231 PageID #:92




  FILED DATE: 10/24/2019 3:52 PM 2019CH12407
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 93 of 231 PageID #:93




  FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 94 of 231 PageID #:94
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 95 of 231 PageID #:95
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 96 of 231 PageID #:96
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 97 of 231 PageID #:97
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 98 of 231 PageID #:98
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 99 of 231 PageID #:99
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 100 of 231 PageID #:100
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 101 of 231 PageID #:101
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 102 of 231 PageID #:102
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 103 of 231 PageID #:103
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 104 of 231 PageID #:104
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 105 of 231 PageID #:105
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 106 of 231 PageID #:106
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 107 of 231 PageID #:107
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 108 of 231 PageID #:108
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 109 of 231 PageID #:109
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 110 of 231 PageID #:110
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 111 of 231 PageID #:111
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 112 of 231 PageID #:112
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 113 of 231 PageID #:113
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 114 of 231 PageID #:114
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 115 of 231 PageID #:115
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 116 of 231 PageID #:116
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 117 of 231 PageID #:117
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 118 of 231 PageID #:118
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 119 of 231 PageID #:119
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 120 of 231 PageID #:120
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 121 of 231 PageID #:121
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 122 of 231 PageID #:122
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 123 of 231 PageID #:123
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 124 of 231 PageID #:124
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 125 of 231 PageID #:125
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 126 of 231 PageID #:126
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 127 of 231 PageID #:127
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 128 of 231 PageID #:128
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 129 of 231 PageID #:129
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
                                             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 130 of 231 PageID #:130
FILED DATE: 10/24/2019 3:52 PM 2019CH12407
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 131 of 231 PageID #:131
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 132 of 231 PageID #:132
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 133 of 231 PageID #:133




       Exhibit H:
City of Chicago Civilian
    Office of Police
     Accountability
•    Two COPA Complaints - 17th District CPD Peace Officers
•    Two Maps: 16th District to Starbucks (Walking) and Starbucks
     to 17th District (Driving)
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 134 of 231 PageID #:134
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM




                                                                     Jerico. the consultant <theconsultantoo0oo@gmail.com>



 Form Submission: COPA Online Complaint Form
 2 messages

 Civilian Office of Police Accountability <COPA-Intake@chicagocopa.org>                                  Fri, Jun 18, 2021 at 12:20 PM
 To: theconsultantoo0oo@gmail.com

    Thank you for submitting your complaint using COPA's online complaint form. A copy of your submission is provided
    below.

     Name

           Jerico Matias Cruz

     Primary Address

           5135 N Keating Ave
           Chicago, Illinois 60630
           United States
           Map It

     Alternate Address

           United States
           Map It

     Date of Birth

           06/14/1987

     Gender

           Male

     Ethnicity

           Asian

     Are you a member of the Chicago Police Department?

           No

     Best Time to Contact


                    Weekday
                    Weekend
                    Morning
                    Afternoon


     Contact Phone Number

           (847) 906-3123

     Contact Phone Number Type

           Work


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504        Page 1 of 9
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 135 of 231 PageID #:135
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



     Email

           theconsultantoo0oo@gmail.com

     Describe the incident.

           On or about June 13, 2021 at 4:39 PM, I, Jerico Matias Cruz, purchases a Grande Starbucks Cold Brew Coffee, which
           costs $4.37, including Illinois sales tax, while using my Starbucks rewards account online and picks the purchased item
           in-store. See my Starbucks rewards account purchased history and membership since 2020. I ask one of the
           Starbucks employee, who calls herself the supervisor, for help purchasing using my Starbucks rewards account online
           because I am unable to see the purchased item online in contrast to the drink, freshly brewed coffee, which costs
           approximately $2.95 plus Illinois sales tax. While I am in-store, I am using my laptop to connect to Starbuck's public
           WiFi network in-store, while the Starbucks' radio is turn-on and the sound of the radio is somewhat louder than usual.
           See Ofc. Zagozdon and Ofc. Khan's body-worn camera footages. I am also talking to somebody on my phone,
           smartphone, while sipping or drinking my Starbucks purchased item from the store and using Starbucks' public WiFi
           network. One of the employees asks me if I am okay while I am using my smartphone inside the store, while I am
           talking to somebody, and while the Starbucks' radio is turn-on and louder than usual. I reply, "Yes, I am okay and also
           give him a thumbs up." One of the employees from the Starbucks, the one who calls herself the supervisor, tells me to
           go outside the Starbucks, specifically, in the patio where you can sit on one of the tables outside and scolds me, "I am
           making too much noise inside the store." I look around and check if there is a customer other than myself. I see
           nobody inside the store during that time. I reply, "No, I am staying inside. I am not making any noise." The supervisor
           only wants me to stay outside the Starbucks and not leave the vicinity of the Starbucks, while I am on my phone. I do
           not know why there is a 9-11 call for this unlawful arrest committed by 17th District CPD peace officers: Ofc. Zagozdon;
           Ofc. Khan; Ofc. Eberlin; Ofc. Rivera; Ofc. Mahe; Ofc. Ibrahimovic; and Ofc. Oshana. Ofc. Zagozdon and Ofc. Khan
           respond to 9-11 call made from 4715 W Foster Ave, Chicago, Illinois 60630. Ofc. Zagozdon and Ofc. Khan ask me to
           leave the vicinity of Starbucks and while I am inside the Starbucks. Ofc. Zagozdon and Ofc. Khan accuse me of
           Criminal Trespassing while I am legitimate customer of Starbucks. One of the employees who calls herself the
           supervisor fails to follow the store policy and I feel I am discriminated as a customer and as a Starbucks rewards
           account holder. For Ofc. Zagozdon and Ofc. Khan, accusing me of criminal trespassing while I am not violating any
           store policy, Chicago Municipal Code, Illinois Criminal Statutes, and Federal Criminal Statutes. The exchange of
           statements continue about the Illinois laws, specifically Illinois criminal laws that Ofc. Khan and Ofc. Umer are trying to
           enforced while Ofc. Zagozdon and Ofc. Umer are doing their patrol duty during their watch inside their beat or their
           specific jurisdiction. When I decide to go outside the Starbucks, as one of the female employees who calls herself the
           supervisor tells me earlier, Ofc. Zagozdon and Ofc. Khan asks me again to leave the vicinity of Starbucks. I ask Ofc.
           Zagozdon and Ofc. Khan to call the supervisor to confirm her statement about the accusation of criminal trespassing. I
           ask the supervisor, "Did you tell me to go outside the Starbucks?" The supervisor says, "Yes." See Ofc. Zagozdon and
           Ofc. Khan's body-worn camera footages. When I am done asking question(s), I decided to leave when other assisting
           officers and Ofc. Eberlin, the supervisor on the scene, arrive on the scene. I ask SGT Eberlin about the laws that they
           are trying to enforce. When I am taking video and am trying to get their names, SGT Eberlin and other assisting
           officers unlawfully arrest me. They accuse me of criminal trespassing for asking their names and tell me that I am still
           in the parking lot of the Starbucks. See peace officers' bodycam.

     Were you injured in this incident?

           Yes

     If so, please provide a description of your injuries.

           Scratch on my thumb with a little bit of blood but not profuse. Just put a bandaid for a day to stop the bleeding when I
           arrive home at 5135 N Keating Ave, Chicago, Illinois 60630 on June 14, 2021 at approximately 1:35 A.M.

     Did you seek treatment for your injuries?

           No

     Incident Address

           4715 W Foster Ave
           Chicago, Illinois 60630
           United States


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 2 of 9
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 136 of 231 PageID #:136
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



           Map It

     Incident Date

           06/13/2021

     Incident Time

           06:55 pm

     Building Name

           Starbucks

     Location Description

           The unlawful arrest occur outside the Starbucks' Parking lot at 4715 W Foster Ave, Chicago, Illinois 60630. The
           building/facility is a commercial building.

     Was this in a school?

           No

     Was this in a police facility?

           No

     Are you aware of any video or audio recording of the incident?

           Yes

     Do you have a copy of the video or audio recording?

           Yes

     Would you like for an investigator to contact you in order to retrieve your audio or video recordings?

           Yes

     Were there witnesses?

                    Yes, add witness


     Witness Name

           Starbucks Employees Other Than The Supervisor

     Is the witness a member of the Chicago Police Department?

           No

     Witness Primary Address

           4715 W Foster Ave
           Chicago, Illinois 60630
           United States
           Map It

     Add another witness

                    Yes, Add Additional Witness


     Is the additional witness a member of the Chicago Police Department?


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 3 of 9
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 137 of 231 PageID #:137
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



           No

     Witness Name

           Starbucks Customers

     Witness Primary Address

           United States
           Map It

     Department Member Name

           Krzysztof Zagozdon

     Star Number

           19916

     Gender

           Male

     Ethnicity

           White

     Was the Department member in uniform?

           Yes

     Assigned Unit

           17th District CPD

     Department Member Description

           Ofc. Zagozdon is a white caucasian male but Eastern European descent.
           SGT. Patrick Eberlin, Star no. 2315, responds on the scene, specifically in the Starbucks' Parking Lot.
           Other Assisting Officers on the scene, specifically in the Starbucks' Parking Lot are the following:
           Nancy Rivera, Star no. 10180; Jean-Pierre Mahe, Star no. 15606; Irfan Ibrahimovic, Star no. 13966; Sargon Oshana,
           and Star no. 10878.
           SGT. Rafael Medina, approving supervisor of the original case incident report.

     Was the Department member driving a vehicle?

           Yes

     What type of vehicle?

           SUV

     Was the vehicle marked with a “Chicago Police Department” decal?

           Yes

     Beat Number

           7244

     Vehicle License Plate

           MP15591

     Vehicle Description

           It is a Ford SUV with background color white and blue graphics and letters.

https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 4 of 9
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 138 of 231 PageID #:138
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM




     Add another Department Member?


                    Yes, Add Another Department Member


     Department Member Name

           Umer Khan

     Star Number

           16971

     Assigned Unit

           17th District CPD

     Gender

           Male

     Ethnicity

           Asian

     Was the Department member in uniform?

           Yes

     Department Member Description

           Ofc. Khan is dark South Asian descent, mainly from Pakistan identifying from his last name.
           SGT. Patrick Eberlin, Star no. 2315, responds on the scene, specifically in the Starbucks' Parking Lot.
           Other Assisting Officers on the scene, specifically in the Starbucks' Parking Lot are the following:
           Nancy Rivera, Star no. 10180; Jean-Pierre Mahe, Star no. 15606; Irfan Ibrahimovic, Star no. 13966; Sargon Oshana,
           and Star no. 10878.
           SGT. Rafael Medina, approving supervisor of the original case incident report.

     Was the Department member driving a vehicle?

           Yes

     What type of vehicle?

           SUV

     Was the vehicle marked with a “Chicago Police Department” decal?

           Yes

     Beat Number

           7244

     Vehicle License Plate

           MP15591

     Vehicle Description

           It is a Ford SUV with white background color and blue graphics and letters.

     Submitted On

           06/18/2021 12:20:03 America/Chicago


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 5 of 9
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 139 of 231 PageID #:139
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



     How did you hear about COPA

           Community Event



    Within five (5) business days, a letter will be mailed to you with respect to whether your complaint falls within COPA's
    jurisdiction or the jurisdiction of the Bureau of Internal Affairs. If your complaint falls within COPA's jurisdiction, we will
    proceed to investigation.

    If you have any questions about your complaint, please feel free to contact our main office during our business hours
    and ask to speak with a case liaison. To the extent you have received the aforementioned letter, please be sure to
    have the Log# assigned to your case when you call so that we can quickly locate your case file.

    For answers to frequently asked questions, please view our FAQs.


 Civilian Office of Police Accountability <COPA-Intake@chicagocopa.org>                                   Fri, Jun 18, 2021 at 2:13 PM
 To: theconsultantoo0oo@gmail.com

    Thank you for submitting your complaint using COPA's online complaint form. A copy of your submission is provided
    below.

     Name

           Jerico Matias Cruz

     Primary Address

           5135 N Keating Ave
           Chicago, Illinois 60630
           United States
           Map It

     Alternate Address

           United States
           Map It

     Date of Birth

           06/14/1987

     Gender

           Male

     Ethnicity

           Asian

     Are you a member of the Chicago Police Department?

           No

     Best Time to Contact

                    Weekday
                    Weekend
                    Morning
                    Afternoon


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 6 of 9
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 140 of 231 PageID #:140
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



     Contact Phone Number

           (847) 906-3123

     Contact Phone Number Type

           Work

     Email

           theconsultantoo0oo@gmail.com

     Describe the incident.

           On or about June 13, 2021, Ofc. Zagozdon and Ofc. Khan and other 17th District Officers, such as SGT Patrick Eberlin
           with Star no. 2315, Ofc. Nancy Rivera with Star no. 10180, Jean-Pierre Mahe with Star no. 15606, Irfan Ibrahimovic
           with Star no. 13966, Ofc. Sargon Oshana with Star no. 10878 (and SGT Rafael Medina, the approving supervisor of
           the original case incident report), unlawfully arrest me outside the Starbucks located at 4715 W Foster Ave, Chicago,
           Illinois 60630. When I am detained inside Group A Holding Room, Ofc. Zagozdon and Ofc. Khan performs an inventory
           of my personal belongings using Chicago Police Department (CPD) Form CPD-34.523 (REV . 10/09) with Invoice No.
           14924662 and PKG No. 5679427 and Invoice No. 14924663 and PKG No. 5679428. On or about June 13 - 14, 2021,
           my personal belongings stay in 17th District CPD's custody between 7:45 PM and 1:30 AM. Although Ofc. Zagozdon
           and Ofc. Khan transfer me to 16th District CPD for fingerprint and photographing, my (1) U.S. Army desert belt, (2)
           U.S. Army Combat boots laces, (3) IL Driver's License Card, (4) personal card and $20.00 in the bag, (5) my U.S.
           Army Cold Weather Jacket and SUV/Car Key go/follow/transfer with me to 16th District CPD. Ofc. Zagozdon and Ofc.
           Khan tell me to go back to 17th District CPD to pick up my personal belongings. Both 17th District CPD and 16th
           District CPD personnel search me and inventory whatever personal belongings that I have during my custody. When
           16th District CPD detention aide releases me from custody, detention aide returns my five (6) personal belongings.
           Ofc. [name not clear on I-Bond no. I8759320] with Star no. 1651 prepares the I-Bond for me to sign. Ofc. (Unknown)
           with Star no. 1651 has to countersign the I-Bond, too. And then I put my boots laces on, belt on; and I put my personal
           card, IL Driver's License card, and $20.00 into one of my Khaki pant's pocket and my SUV/Car key into the other
           pocket. I have to return to Starbucks's parking lot to retrieve my SUV/Car. I have to walk for 1.1 miles from 16th District
           CPD located at 5151 N Milwaukee Ave, Chicago, Illinois 60630 to Starbucks's Parking Lot located at 4715 W Foster
           Ave, Chicago, Illinois 60630, which is approximately 22 minutes. See Screenshots of the distance from 16th District
           CPD and Starbucks' Parking Lot. I drive from Starbucks' Parking Lot to 17th District CPD to retrieve my personal
           belongings. I start from Starbucks's Parking Lot, Seafood City's Parking Lot, and then I turn left to Elston Ave and I
           also turn left on Lawrence Ave, and then I turn right to N Pulaski Rd toward the 17th District CPD, which takes
           approximately about 7 minutes. From hereon, I have spoken to Ofc. Laqui, Lt. David Wu, and a female African-
           American CPD Administrative Clerk when I arrive at 17th District CPD lobby area. I show my two-page invoices and
           the Administrative Clerk returns my personal belongings. On or about June 14, 2021 at approximately 12:130, I
           personally inventory my personal belongings: my personal items inside my green bag; personal items inside my black
           wallet; and other my laptop, laptop's adapter, and my Modern Real Estate Practice in Illinois Edition 10 textbook. I
           remove all my personal belongings from my green bag and black wallet, laptop's adapter from the laptop's adapter
           box, and lay down all my personal belongings in the countertop of the 17th District CPD lobby. I explain to Lt. Wu and
           the Administrative Clerk that I am missing my capital one platinum credit card. The Administrative Clerk initiate an
           original case incident report with an RD No. JE265043 with IUCR Code: 5093, or stolen or lost property. Approving
           supervisor, SGT/Ofc. Timothy Beran with Star no. 2556, approves the police report with false narrative as stated: "In
           Summary, [V] Cruz, Jerico walked into the 17th District to report this incident. Victim related that his capital one
           platinum card was last seen inside his wallet. Around 0100 hrs he discovered his card missing. vin was given"

     Were you injured in this incident?

           No

     Incident Address

           17th District CPD
           16th District CPD
           Chicago, Illinois 60630
           United States


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504        Page 7 of 9
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 141 of 231 PageID #:141
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



           Map It

     Incident Date

           06/13/2021

     Incident Time

           07:30 pm

     Building Name

           17th District CPD/16th District CPD

     Location Description

           17th District CPD/16th District CPD

     Was this in a school?

           No

     Was this in a police facility?

           Yes

     Are you aware of any video or audio recording of the incident?

           Yes

     Do you have a copy of the video or audio recording?

           No

     Would you like for an investigator to contact you in order to retrieve your audio or video recordings?

           Yes

     Department Member Name

           17th District CPD

     Department Member Description

           On or about June 13, 2021, 17th District CPD personnel put me under their custody for unlawful arrest from Starbucks'
           Parking Lot.

     Was the Department member driving a vehicle?

           Yes

     Add another Department Member?


                    Yes, Add Another Department Member


     Department Member Name

           16th District CPD

     Department Member Description

           On or about June 13, 2021, 16th District CPD personnel put me under their custody for fingerprinting and
           photographing.

     Was the Department member driving a vehicle?


https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 8 of 9
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 142 of 231 PageID #:142
Gmail - Form Submission: COPA Online Complaint Form                                                                             6/18/21, 2:15 PM



           Yes

     Submitted On

           06/18/2021 14:13:12 America/Chicago

     How did you hear about COPA

           Family or Friend



    Within five (5) business days, a letter will be mailed to you with respect to whether your complaint falls within COPA's
    jurisdiction or the jurisdiction of the Bureau of Internal Affairs. If your complaint falls within COPA's jurisdiction, we will
    proceed to investigation.

    If you have any questions about your complaint, please feel free to contact our main office during our business hours
    and ask to speak with a case liaison. To the extent you have received the aforementioned letter, please be sure to
    have the Log# assigned to your case when you call so that we can quickly locate your case file.

    For answers to frequently asked questions, please view our FAQs.




https://mail.google.com/mail/u/0?ik=5effccbef7&view=pt&search=…=msg-f%3A1702926026434861747&simpl=msg-f%3A1702933148885621504       Page 9 of 9
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 143 of 231 PageID #:143




                                   Maps




                                    Map 1
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 144 of 231 PageID #:144




                                   Maps




                                    Map 2
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 145 of 231 PageID #:145




              Exhibit I:
         Starbucks Evidence
•    Starbucks Purchases
•    Starbucks Membership since 2020
•    Starbucks Profile
•    Starbucks Card
•    Edens Collection Project by The Jaffe Companies
•    Starbucks City of Chicago Business License
•    Starbucks Illinois Business Registration
•    Ms. Alyssa Trippiedi
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 146 of 231 PageID #:146




                           Purchase History
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 147 of 231 PageID #:147




                          Purchased History
Starbucks Coﬀee Company                                                               https://app.starbucks.com/personal
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 148 of 231 PageID #:148


                  O R DE R   CAR DS     G IFT                          Find a store          Account



         Personal


                                 Jerico M Cruz
                                      First name
                                      Jerico


                                      Last name
                                      M Cruz


                                      Mobile number
                                      8479063123


                                      Address line 1
                                      5135 n keating ave



                                      Address line 2


                                      City
                                      CHICAGO


                                      State
                                      Illinois


                                      Zip code
                                      60630


                                      Birthday
                                      June 14

                                                                                                Save
                                 Starbucks partner? Add your partner number



1 of 2                                                                                                  7/13/21, 6:21 AM
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 149 of 231 PageID #:149
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                                                                              REWAR D STATUS



                                                                                        7
                                                                                   STAR BALA NCE




                                                                              25    50 150 200 400



                                                                                   Almost there! You’re
                                                                                   so close to your first
                                                                                   Reward.




                                                                              Star Codes

                                                                                Enter your Star Code


                                                                                                   Submit


https://app.starbucks.com/rewards                                                                      Page 1 of 7
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 150 of 231 PageID #:150
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                                                                              Have a receipt but don't have a
                                                                              code?
                                                                              Go to starbucks-stars.com
                                                                              to upload your receipt and
                                                                              collect your Stars.




                                                                              STA RS A DD U P TO
                                                                              REWAR D S



                                                                                            Customize
                                                                                            your drink
                                                                                            (espresso shot,
                                                                                25          dairy
                                                                                            substitute,
                                                                                            syrup and
                                                                                            more)


                                                                                            Brewed hot
                                                                                50          coffee, bakery
                                                                                            item or hot tea


                                                                                            Handcrafted
                                                                                            drink, hot
                                                                               150          breakfast or
                                                                                            parfait


                                                                                            Protein box or
                                                                               200          sandwich


                                                                                            Select
                                                                                            merchandise
                                                                               400          or at-home
                                                                                            coffee


https://app.starbucks.com/rewards                                                                      Page 2 of 7
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 151 of 231 PageID #:151
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                                                                              MO RE GO O D STUF F


                                                                           Celebrate
                                                                           on June
                                                                           14 with a
                                                                           birthday
                                                                           treat
                                                                           from us.

                                                                                                      Enjoy
                                                                                                      free
                                                                                                      brewed
                                                                                                      coffee
                             ORDER   CA RDS   G IFT
                                                                                                      and
                                                                                                      hot tea
                                                                                                      refills.




                           Starbucks® Rewards

                           My Rewards


https://app.starbucks.com/rewards                                                                      Page 3 of 7
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 152 of 231 PageID #:152
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                           How it works
                                                                           Pay right
                                                                           here on
                                                                           the web.
                                                                           Or
                                                                           download
                                                                           the
                                                                           Starbucks®
                                                                           app to
                                                                           make
                                                                           paying
                                                                           even
                                                                           easier.

                                                                                                     Order
                                                                                                     ahead
                                                                                                     for in-
                                                                                                     store,
                                                                                                     curbside
                                                                                                     or
                                                                                                     drive-
                                                                                                     thru
                                                                                                     pickup
                                                                                                     at select
                                                                                                     stores.




https://app.starbucks.com/rewards                                                                      Page 4 of 7
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 153 of 231 PageID #:153
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                                                                           Earn Stars
                                                                           and get
                                                                           Rewards
                                                                           faster
                                                                           with
                                                                           Double
                                                                           Star Days,
                                                                           Bonus Star
                                                                           challenges
                                                                           and
                                                                           games.


                                                                                  Some restrictions apply




                                                                                     Jerico, you’ve been a
                                                                                    member since 2020.
                                                                                 ’20
                                                                                     Thank you.




                                                                              RECENTLY EXPI RED STARS


                                                                                       Stars
                                                                              0.0      expired        May 2
                                                                                       on




https://app.starbucks.com/rewards                                                                      Page 5 of 7
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 154 of 231 PageID #:154
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                                                                                      Stars
                                                                              0.0     expired         June 2
                                                                                      on



                                                                              STA RS EXPI RIN G SOO N


                                                                                      Stars
                                                                              0.0     expire          July 2
                                                                                      on



                                                                                      Stars
                                                                                                      August
                                                                              0.0     expire
                                                                                                      2
                                                                                      on



                                                                                      Stars
                                                                                                      Septemb
                                                                              0.0     expire
                                                                                                      2
                                                                                      on



                                                                                      Stars
                                                                                                      October
                                                                              0.0     expire
                                                                                                      2
                                                                                      on



                                                                                      Stars
                                                                                                      Novembe
                                                                              0.0     expire
                                                                                                      2
                                                                                      on



https://app.starbucks.com/rewards                                                                      Page 6 of 7
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 155 of 231 PageID #:155
Starbucks Coffee Company                                                                          6/14/21, 4:10 AM




                                                                                      Stars
                                                                                                      Decembe
                                                                              0.0     expire
                                                                                                      2
                                                                                      on



                                                                                      Stars
                                                                                                      January
                                                                              7.9     expire
                                                                                                      2
                                                                                      on




https://app.starbucks.com/rewards                                                                      Page 7 of 7
Starbucks Coﬀee Company                                                                  https://app.starbucks.com/cards
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 156 of 231 PageID #:156


                  O R DE R   CAR DS    G IFT                         Find a store            Account



         Starbucks Cards
         Pay      Add



                          $1.31                                                     Manage




                                      Add card




                                                                                       Add money



1 of 2                                                                                                  7/13/21, 6:22 AM
Edens Collection - The Jaﬀe Companies | The Jaﬀe Companies                                    http://jaﬀecos.com/project/edens-collection/
                      Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 157 of 231 PageID #:157


    HOME (HTTP://JAFFECOS.COM)     PROJECTS (HTTP://JAFFECOS.COM/PROJECTS/)
    SERVICES  (HTTP://JAFFECOS.COM/SERVICES/)
      (http://jaffecos.com)                    ABOUT US (HTTP://JAFFECOS.COM/ABOUT-US/)
    CONTACT US (HTTP://JAFFECOS.COM/CONTACT-US/)




         EDENS COLLECTION

                                                    1. 1
            Edens Collection
                                                    2. 2
                                                    3. 3
            Location                                4. 4
                                                    5. 5
            Foster Avenue & The
            Edens Expressway

            Chicago, Illinois


            Square Footage
            A 143,000 square foot
            Target-anchored retail
            project. Notable tenants
            include Ross, LA Fitness
            Signature Club, Five
            Below, Starbucks and
            Chipotle.


            For Leasing
            Information
            Call: 312-818-1950 x 1

            Email:
            Michael@JaffeCos.com




                                                 © 2021 The Jaffe Companies. All Rights
                                                                                          Phone: 312.818.1950
         (http://jaffecos.com)                                 Reserved.
                                                                                          Address:
                                                                                          4659 W. Foster Ave, Suite B
                                                                                          Chicago, Illinois 60630




1 of 1                                                                                                                  7/12/21, 10:48 AM
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 158 of 231 PageID #:158




                     Starbucks IL Registration
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 159 of 231 PageID #:159




                      IL Business Registration
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 160 of 231 PageID #:160



                               Ms. Alyssa Trippiedi




            Customer (Front Left), Starbucks Employee #1 (Front Middle),
        Starbucks Employee #2 (Back Middle), & Ms. Alyssa Trippiedi (Right)
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 161 of 231 PageID #:161




                  Exhibit J:
                th
              17 District Beat
•    CPD Original Case Incident Report – Redacted – JE264805
•    CPD Original Case Incident Report – Illinois Freedom of
     Information Act (FOIA) Request – File No. P668516-062021
•    CPD Original Case Incident Report – Illinois Freedom of
     Information Act (FOIA) Response – File No. P668516-062021
•    CPD Original Case Incident Report – Partially Redacted –
     JE264805
•    CPD Original Case Incident Report – JE265043
•    I-Bond
•    INV14924662
•    INV14924663
•    RD Receipt
•    OEMC 9-11 Call – Illinois Freedom of Information Act
     Request – File No. F211878-061821
•    OEMC 9-11 Call – Illinois Freedom of Information Act
     Response – File No. F211878-061821
•    OEMC Event Query Report
•    CPD Paper Envelope
•    CPD Evidence-Property Envelope
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 162 of 231 PageID #:162
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 163 of 231 PageID #:163
Gmail - Non-Commercial Illinois Freedom of Information Act Reques...        https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 164 of 231 PageID #:164


                                                                        Jerico. the consultant <theconsultantoo0oo@gmail.com>



         Non-Commercial Illinois Freedom of Information Act Request about Original Case
         Incident Report and Case Supplementary Report of Ofc. Zagozdon and Ofc. Khan
         from Starbucks' Parking Lot at 4715 W Foster Ave, Chicago, Illinois 60630 on or
         about June 13, 2021 at approximately 6:55 PM
         Jerico. the consultant <theconsultantoo0oo@gmail.com>                                           Fri, Jun 18, 2021 at 10:55 AM
         To: foia@chicagopolice.org, cpdfoia@chicagopolice.org
         Cc: j-cruz7@neiu.edu

           City of Chicago
           Department of Police
           Attn: Freedom of Information Officer
           3510 S Michigan Ave
           Chicago, Illinois 60630

                  Re: Non-Commercial Illinois Freedom of Information Act Request about Original Case Incident Report and
           Case
                      Supplementary Report of Ofc. Zagozdon and Ofc. Khan from Starbucks' Parking Lot at 4715 W Foster
           Ave,
                      Chicago, Illinois 60630 on or about June 13, 2021 at approximately 6:55 PM

           Dear FOIA Officer,

           Under the Illinois Freedom of Information Act, 5 ILCS 140/1 et seq., please furnish a copy of the Original Case
           Incident Report and Case Supplementary Report of Ofc. Zagozdon and Ofc. Khan from Starbucks' Parking Lot at
           4715 W Foster Ave, Chicago, Illinois 60630 on or about June 13, 2021 at approximately 6:55 PM for the following
           requestor:

           Full Name: Jerico Matias Crtuz

           Current Employment Status: Quanta Strategies LLC Consultant

           Race/Ethnicity: Asian-American / Non-Hispanic and Filipino American descent

           U.S. Military Status: U.S. Army Combat Veteran (03/2006 - 02/2017)

           Further, I am requesting a copy of records for non-commercial purposes.

           If you have any questions or concerns, you can telephoned me at (847) 906-3123, or reply to this email.

           Thank you for your time and understanding.

           Respectfully,

           Jerico Matias Cruz
           5135 North Keating Avenue
           Chicago, IL 60630
           (847) 906-3123

           Email Notice Confidentiality: This email is covered by the Electronic Communications Privacy Act, 18 USC
           §§2510-2521. The confidential information contained in this e-mail is being transmitted to and is intended for the use
           of only the individual(s) to whom it is addressed. If the reader of this e-mail is not the intended recipient, you are
           hereby advised that any dissemination, distribution or copying of this e-mail is strictly prohibited. If you have received
           this e-mail in error, please immediately notify me via theconsultantoo0oo@gmail.com and delete it afterward. Thank


1 of 2                                                                                                                             7/13/21, 8:37 AM
Gmail - Non-Commercial Illinois Freedom of Information Act Reques...   https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 165 of 231 PageID #:165
           you for your cooperation.




2 of 2                                                                                                                     7/13/21, 8:37 AM
           Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 166 of 231 PageID #:166




07/02/2021

Jerico Matias Cruz
Chicago IL 606

RE: FOIA REQUEST of June 18, 2021, Reference # P668516-062021

Dear Jerico Matias:

The Chicago Police Department is in receipt of your Freedom of Information Act (FOIA) request. On June 18,
2021, the following request was received.

Under the Illinois Freedom of Information Act, 5 ILCS 140/1 et seq., please furnish a copy of the Original Case
Incident Report and Case Supplementary Report of Ofc. Zagozdon and Ofc. Khan from Starbucks' Parking Lot
at 4715 W Foster Ave, Chicago, Illinois 60630 on or about June 13, 2021 at approximately 6:55 PM for the
following requestor...

Your request has been granted and a document responsive to your request are enclosed.


Your request has been reviewed by the undersigned. The request is being granted pursuant to the below provision and
including the attached as the responsive record.

Redactions and Exemptions:

Regarding the granted records, certain information is exempt from disclosure, and has been redacted accordingly. FOIA
exempts the release of "[p]rivate information, unless disclosure is required by another provision of this Act, a State or federal
law or a court order." 5 ILCS 140/7(1)(b). Private information is defined as:

[U]nique identifiers, including a person's social security number, driver's license number, employee identification number,
biometric identifiers, personal financial information, passwords or other access codes, medical records, home or personal
telephone numbers, and personal email addresses. Private information also includes home address and personal license
plates, except as otherwise provided by law or when compiled without possibility of attribution to any person. 5 ILCS
140/2(c-5).
           Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 167 of 231 PageID #:167




Any CPD personnel unique identification numbers like employee user code numbers, unique handwritten signatures (if
applicable) and employee numbers contained in these records, are private information and have been properly redacted
pursuant to Section 7(1)(b).

Additionally, home addresses, phone numbers, and dates of birth, within these records are considered highly personal
information, the disclosure of which would be objectionable to a reasonable person. Therefore, this information was properly
redacted pursuant to Section 7(1)(c):

5 ILCS 140/7(1)(c) exempts, “[p]ersonal information contained within public records, the disclosure of which would
constitute a clearly unwarranted invasion of personal privacy, unless the disclosure is consented to in writing by the
individual subjects of the information. ‘Unwarranted invasion of personal privacy’ means the disclosure of information that
is highly personal or objectionable to a reasonable person and in which the disclosure of information that bears on the public
duties of public employees and officials shall not be considered an invasion of personal privacy.”

The names, addresses, and other information that could be used to identify the complainant or witness or others who provided
information to the police have been redacted. The redacted information is exempt from disclosure under 5 ILCS 140/7 (1)
(d)(iv), which enables a public body to redact information that would:

unavoidably disclose the identity of a confidential source, confidential information furnished only by the confidential
source, or persons who file complaints with or provide information to administrative, investigative, law enforcement, or
penal agencies; except that the identities of witnesses to traffic accidents, traffic accident reports, and rescue reports shall
be provided by agencies of local government, except when disclosure would interfere with an active criminal
investigation conducted by the agency that is the recipient of the request
If you have any questions, please contact our office at 312-745-5308 or at the following address:

Chicago Police Department
Attention: Freedom of Information Officer
Office of Legal Affairs, Unit 114
3510 S. Michigan Ave.
Chicago, IL 60653

You have a right of review by the Illinois Attorney General’s Public Access Counselor, who can be contacted at
500 S. Second St., Springfield, IL 62706 or by telephone at 877-299-3642. You may also seek judicial review
in the Circuit Court of Cook County under 5 ILCS 140/11.

Sincerely,

Mirza Baig
Freedom of Information Officer
Chicago Police Department
Gmail - Non-Commercial Police FOIA Request :: P668516-062021      https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                     Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 168 of 231 PageID #:168


                                                               Jerico. the consultant <theconsultantoo0oo@gmail.com>



         Non-Commercial Police FOIA Request :: P668516-062021
         Chicago Public Safety <chicagops@govqa.us>                                              Fri, Jul 2, 2021 at 8:54 AM
         To: "theconsultantoo0oo@gmail.com" <theconsultantoo0oo@gmail.com>



           Attachments:
           JE264805_csr.PDF
           JE264805_ocir_R.pdf
           Police_-_Responsive_Records_Letter_722021.pdf

           --- ---




1 of 1                                                                                                               7/13/21, 10:58 AM
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 169 of 231 PageID #:169
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 170 of 231 PageID #:170
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 171 of 231 PageID #:171
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 172 of 231 PageID #:172
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 173 of 231 PageID #:173
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 174 of 231 PageID #:174
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 175 of 231 PageID #:175
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 176 of 231 PageID #:176
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 177 of 231 PageID #:177
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 178 of 231 PageID #:178
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 179 of 231 PageID #:179
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 180 of 231 PageID #:180
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 181 of 231 PageID #:181
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 182 of 231 PageID #:182
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 183 of 231 PageID #:183
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 184 of 231 PageID #:184
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 185 of 231 PageID #:185
Gmail - Non-Commercial Illinois Freedom of Information Act Reques...     https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 186 of 231 PageID #:186


                                                                       Jerico. the consultant <theconsultantoo0oo@gmail.com>



         Non-Commercial Illinois Freedom of Information Act Request about the 9-11 Call
         Made from Starbucks at 4715 W Foster Ave, Chicago, Illinois 60630 at
         approximately 6:45 PM and 6:55 PM on or about June 13, 2021
         Jerico. the consultant <theconsultantoo0oo@gmail.com>                                       Fri, Jun 18, 2021 at 11:07 AM
         To: OEMCfoia@cityofchicago.org
         Cc: j-cruz7@neiu.edu




1 of 2                                                                                                                       7/13/21, 8:37 AM
Gmail - Non-Commercial Illinois Freedom of Information Act Reques...        https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                   Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 187 of 231 PageID #:187

           City of Chicago
           Office of Emergency Management and Communication
           Attn: Freedom of Information Officer
           1411 W Madison St
           Chicago, Illinois 60607

                  Re: Non-Commercial Illinois Freedom of Information Act Request about the 9-11 Call Made from Starbucks at
                     4715 W Foster Ave, Chicago, Illinois 60630 at approximately 6:45 PM and 6:55 PM on or about June 13,
           2021

           Dear FOIA Officer,

           Under the Illinois Freedom of Information Act, 5 ILCS 140/1 et seq., please furnish a copy of 9-11 call made from
           Starbucks at 4715 W Foster Ave, Chicago, Illinois 60630 at approximately at 6:45 PM and 6:55 PM on or about June
           13, 2021, for the following requestor:

           Full Name: Jerico Matias Cruz

           Current Employment Status: Quanta Strategies, LLC Consultant

           Race/Ethnicity: Asian-American / Non-Hispanic / Filipino American descent

           U.S. Military Status: U.S. Army Combat Veteran (03/2006 - 02/2017)

           Further, I am requesting a copy of records for non-commercial purposes.

           If you have any questions or concerns, you can telephoned me at (847) 906-3123, or reply to this email.

           Thank you for your time and understanding.

           Respectfully,

           Jerico Matias Cruz
           5135 North Keating Avenue
           Chicago, IL 60630
           (847) 906-3123

           cc: Jerico Matias Cruz, NEIU Email

           Email Notice Confidentiality: This email is covered by the Electronic Communications Privacy Act, 18 USC
           §§2510-2521. The confidential information contained in this e-mail is being transmitted to and is intended for the use
           of only the individual(s) to whom it is addressed. If the reader of this e-mail is not the intended recipient, you are
           hereby advised that any dissemination, distribution or copying of this e-mail is strictly prohibited. If you have received
           this e-mail in error, please immediately notify me via theconsultantoo0oo@gmail.com and delete it afterward. Thank
           you for your cooperation.




2 of 2                                                                                                                             7/13/21, 8:37 AM
Gmail - Non-Commercial OEMC FOIA Request :: F211878-061821        https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 188 of 231 PageID #:188


                                                              Jerico. the consultant <theconsultantoo0oo@gmail.com>



         Non-Commercial OEMC FOIA Request :: F211878-061821
         Chicago Public Safety <chicagops@govqa.us>                                           Thu, Jun 24, 2021 at 2:37 PM
         To: "theconsultantoo0oo@gmail.com" <theconsultantoo0oo@gmail.com>



          Attachments:
          2116413948_R.pdf

          --- ---




                              OFFICE OF EMERGENCY MANAGEMENT AND COMMUNICATIONS
                                                      CITY OF CHICAGO

          June 24, 2021

          RE: FOIA Request #F211878-061821

          Jerico Matias Cruz
          thesonsultantoo0oo@gmail.com

          Dear Jerico Matias:

          On behalf of the Office of Emergency Management and Communications (OEMC), I am responding to
          your Freedom of Information (FOIA) request that our office received on June 18, 2021, wherein you
          requested the following information:

          "Re: Non-Commercial Illinois Freedom of Information Act Request about the 9-11 Call Made from
          Starbucks at
          4715 W Foster Ave, Chicago, Illinois 60630 at approximately 6:45 PM and 6:55 PM

          Dear FOIA Officer,

          Under the Illinois Freedom of Information Act, 5 ILCS 140/1 et seq., please furnish a copy of 9-11 call
          made from Starbucks at 4715 W Foster Ave, Chicago, Illinois 60630 at approximately at 6:45 PM and
          6:55 PM for the following requestor:

          Re: Non-Commercial Illinois Freedom of Information Act Request about the 9-11 Call Made from
          Starbucks at
          4715 W Foster Ave, Chicago, Illinois 60630 at approximately 6:45 PM and 6:55 PM on or about


1 of 3                                                                                                                7/13/21, 9:52 AM
Gmail - Non-Commercial OEMC FOIA Request :: F211878-061821        https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 189 of 231 PageID #:189

          June 13, 2021"

          With respect to your request, the OEMC is providing you with the redacted event query. Be advised, City
          of Chicago Employee Identification numbers, phone numbers and license plate numbers have been
          redacted pursuant to 7(1)(b) of FOIA, which provides that public bodies may redact information that is
          considered private. 5 ILCS 2(c-5) of FOIA defines private information as follows:

          "Private information" means unique identifiers, including a person's social security number, driver's
          license number, employee identification number, biometric identifiers, personal financial information,
          passwords or other access codes, medical records, home or personal telephone numbers and email
          addresses. Private information also includes home address and personal license plates, except as
          otherwise provided by law or when compiled without possibility of attribution to any person.

          The caller's name has been redacted pursuant to 5 ILCS 140/7(1)(d)(iv) of FOIA.
          5 ILCS 140/7 (1)(d)(iv) of FOIA protects caller identity and exempts from disclosure information that
          could (iv) unavoidably disclose the identity of a confidential source, confidential information furnished
          only by the confidential source, or persons who file complaints with or provide information to
          administrative, investigative, law enforcement, or penal agencies.

          Additionally, names, phone numbers and license plate numbers have been redacted pursuant to 5 ILCS
          140/7(1)(c) which authorizes a public body to redact:

          Personal information contained within public records, the disclosure of which would constitute a clearly
          unwarranted invasion of personal privacy, unless the disclosure is consented to in writing by the
          individual subjects of the information.

          "Unwarranted invasion of personal privacy" means the disclosure of information that is highly personal or
          objectionable to a reasonable person and in which the subject's right to privacy outweighs any legitimate
          public interest in obtaining the information.

          As it relates to the portion of your request seeking audio recordings for the event query being provided to
          you today, that portion of your request is being denied.

          Please be advised that citizens who call 9-1-1 have a right to a certain amount of privacy under the
          Freedom of Information Act. Any record, such as audio recordings, could expose the identity of a caller
          by voice recognition. Citizens that call 9-1-1 are many times potential witnesses and/or victims of a
          violent crime; therefore, their privacy is exempt under 7(1)(d)(iv) of FOIA. 5 ILCS 140/7 (1)(d)(iv) of
          FOIA protects caller identity and exempts from disclosure information that could (iv) unavoidably
          disclose the identity of a confidential source, confidential information furnished only by the confidential
          source, or persons who file complaints with or provide information to administrative, investigative, law
          enforcement, or penal agencies.

          In addition, the audio recordings are being denied pursuant to 5 ILCS 140/7(1)(c) which authorizes a
          public body to withhold:

           Personal information contained within public records, the disclosure of which would constitute a clearly
          unwarranted invasion of personal privacy, unless the disclosure is consented to in writing by the
          individual subjects of the information.

          "Unwarranted invasion of personal privacy" means the disclosure of information that is highly personal or



2 of 3                                                                                                                7/13/21, 9:52 AM
Gmail - Non-Commercial OEMC FOIA Request :: F211878-061821               https://mail.google.com/mail/u/0?ik=5eﬀccbef7&view=pt&search=all&...
                 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 190 of 231 PageID #:190

          objectionable to a reasonable person and in which the subject's right to privacy outweighs any legitimate
          public interest in obtaining the information. In addition, you have not provided anything to demonstrate
          that the public’s interest in that information outweighs the personal right to privacy at issue.

          To the extent a portion of your FOIA request has been denied, you have a right of review by the Illinois
          Attorney General's Public Access Counselor who can be contacted at 500 S. Second St., Springfield,
          IL 62706 or by telephone at (877)-299-FOIA. You may also seek judicial review of a denial under 5
          ILCS 140/11 of FOIA.

          Sincerely,

          A. Martin - OEMC FOIA
          Freedom of Information Officer
          Office of Emergency Management & Communications
          312-746-9403

          To monitor the progress or update this request please log into the Public Portal




3 of 3                                                                                                                       7/13/21, 9:52 AM
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 191 of 231 PageID #:191
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 192 of 231 PageID #:192
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 193 of 231 PageID #:193
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 194 of 231 PageID #:194
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 195 of 231 PageID #:195
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 196 of 231 PageID #:196




                                  Photos




                     Ofc. Krzysztof Zagozdon
                Inside the Starbucks Coffee#58413
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 197 of 231 PageID #:197




                          Ofc Umer Khan
                Inside the Starbucks Coffee#58413
     Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 198 of 231 PageID #:198




                                             Videos

I. Go to www.youtube.com; search for: Quanta Strategies LLC.

II. See the following hyperlinks below:
         1. https://www.youtube.com/watch?v=zwr1Bpr8jyM
         2. https://www.youtube.com/watch?v=hZ3UL0TKFGI



Caveat:

These videos are protected by Illinois Eavesdropping Act, 720 ILCS 5/14-1 et seq. Quanta Strategies,
LLC is the custodian/distributor of these videos.
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 199 of 231 PageID #:199
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 200 of 231 PageID #:200
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 201 of 231 PageID #:201




                  Evidence – Property Envelope




                                  Envelope 1
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 202 of 231 PageID #:202




                  Evidence – Property Envelope




                                  Envelope 2
 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 203 of 231 PageID #:203




       Exhibit K:
     State of Illinois
  Department of Human
          Rights
• Starbucks
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 204 of 231 PageID #:204



                           Starbucks-IDHR
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 205 of 231 PageID #:205
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 206 of 231 PageID #:206
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 207 of 231 PageID #:207
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 208 of 231 PageID #:208
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 209 of 231 PageID #:209
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 210 of 231 PageID #:210
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 211 of 231 PageID #:211
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 212 of 231 PageID #:212




                      Exhibit L:
                      MISC Items
•    Laptop Adapter
•    Real Estate Textbook
•    Greenbag
•    City Colleges of Chicago Online Class Information
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 213 of 231 PageID #:213
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 214 of 231 PageID #:214
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 215 of 231 PageID #:215
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 216 of 231 PageID #:216
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 217 of 231 PageID #:217
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 218 of 231 PageID #:218
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 219 of 231 PageID #:219
Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 220 of 231 PageID #:220
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 221 of 231 PageID #:221
Week #1: Introduction - Meet Your Classmates - Summer 2021 PROFDEV 4180 SU1 KK                                           6/14/21, 4:02 AM




                   Summer …                                                                         JC     Jerico Cruz




      Course Home                  Content            Assessments                 Classlist   Student Support               Help


    Discussions List          View Topic          View Thread          Settings        Help        Search Week #…



                   Week #1: Introduction - Meet Your
                   Classmates
                   Jerico Cruz posted Jun 3, 2021 7:55 PM • 272 Words                         Subscribed




https://brightspace.ccc.edu/d2l/le/181981/discussions/threads/846816/View                                                     Page 1 of 3
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 222 of 231 PageID #:222
Week #1: Introduction - Meet Your Classmates - Summer 2021 PROFDEV 4180 SU1 KK                     6/14/21, 4:02 AM




      My name is Jerico Matias Cruz. I was born in the Philippines and raised in
      North Side and Far Northwest Side of the City of Chicago. I attended Chicago
      Public Schools, both middle school and high school. I also attended universities
      and colleges in the State of Illinois. By trade, I concentrated in economics.

      I studied computer programming I and II courses, and a client-side web
      development course during my undergraduate. I learned the fundamentals of
      Java, a computer programming language. I also learned how to write a code
      and to build a website using CSS, HTML, XHTML, and other web development
      tools. From hereon, I expand and expound my knowledge with computer
      programming while reading different sources from academia and other
      available sources in the internet. I do not have a formal education background
      in computer science, such as professional IT certifications and/or degrees.

      On or about May 2013, I registered a startup company named QA Engineering
      Sales & Services, LLC, also known as QAENGSS (pronunciation: QA-ENG-S-S).
      QAENGSS had a computer and electronic device repair license with the City of
      Chicago Small Business Center. QAENGSS dealt mainly with the computer and
      electronic parts of the machines that our independent contractor field service
      technician(s) provided services and repairs. QAENGSS is now a defunct startup
      company. Moreover, I am expecting to learn more about the CompTIA
      Security+ examination or the fundamentals of cybersecurity. I find this
      cybersecurity class like a survey or introductory course in cybersecurity with a
      practical knowledge and an application in real life situations.

      For more information about me, please visit my Linkedin and Personal profile:

      Linkedin: https://www.linkedin.com/in/jeric0mcruz

      Personal: https://jeric0mcruz.wordpress.com


https://brightspace.ccc.edu/d2l/le/181981/discussions/threads/846816/View                               Page 2 of 3
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 223 of 231 PageID #:223
Week #1: Introduction - Meet Your Classmates - Summer 2021 PROFDEV 4180 SU1 KK                       6/14/21, 4:02 AM




            Reply to Thread




        Filter by:           All Posts             |   Clear filters              Show:   Threaded


                    Patricia Koomson
                    June 4 at 1:43 AM

                    Hello Jericho, I really like your IT background .I know we will also
                    learn a lot from your experience as well.I am looking forward to
                    learning great things from you as well.

                            Reply


                    Wyvetta Harper
                    June 4 at 8:40 AM


                    Very thorough introduction! I admire your educational persistence
                    and willingness to learn on your own. I hope that you have a great
                    deal of success with your company, because I do think that the future
                    will be in contracting with larger companies as an independent
                    worker. I don't know that for a fact, but you have positioned yourself
                    for the future!

                            Reply



                                                                            1    /1



            Reply to Thread




https://brightspace.ccc.edu/d2l/le/181981/discussions/threads/846816/View                                 Page 3 of 3
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 224 of 231 PageID #:224
Week #2: Explaining Threat Actors and Threat Intelligence - Summer 2021 PROFDEV 4180 SU1 KK                                     6/14/21, 4:02 AM




                   Summer …                                                                                JC     Jerico Cruz




      Course Home                  Content            Assessments                   Classlist        Student Support               Help


    Discussions List          View Topic          View Thread          Settings               Help        Search Week #…



                   Week #2: Explaining Threat Actors and
                   Threat Intelligence
                   Jerico Cruz posted Jun 8, 2021 6:59 PM • 470 Words                                Subscribed




      Cybersecurity experts consider two types of threats in the system: Threat
      actors and threat intelligence. Examples of threat actors are script kiddies,
      hacktivists, organized crimes, nation states/Advanced Persistent Threats
      (APTs), insiders, and competitors. Script kiddies are performed by
      unsophisticated and not formally funded individuals who run pre-made scripts
      without a full knowledge of their actions. Hacktivists are professional hackers
      who hack for a political agenda, are fairly sophisticated, and have a limited
      funding. Organized crimes are professional hackers with link to criminal
      organizations who are very sophisticated, fully funded, and motivated by
      money. Nation states or APTs are professional hackers who are fully funded by
      governments, highly sophisticated, and have massive resources. Insiders are
      organization's previous employees or third-party vendors who have
      institutional knowledge about the organization, may not be sophisticated, and
      rely mainly on passwords on a posted note. Competitors are professional
      hackers who have a direct knowledge of your organization, a high level of
      sophistication, different motivations and intents. Therefore, "threat actors
      come from different parts of the world and will gather as much as information
      about your organization and use it against your organization," as Professor
https://brightspace.ccc.edu/d2l/le/181981/discussions/threads/847526/View                                                            Page 1 of 3
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 225 of 231 PageID #:225
Week #2: Explaining Threat Actors and Threat Intelligence - Summer 2021 PROFDEV 4180 SU1 KK        6/14/21, 4:02 AM


      about your organization and use it against your organization," as Professor
      Messer says.

      Cybersecurity experts identify different sources of threat intelligence. Open-
      Source Intelligence (OSINT) is the available information in the public domain,
      such as the internet, government data, and commercial data.
      Closed/proprietary intelligence is a proprietary information that has been
      compiled by threat intelligence services. Vulnerability databases are types of
      databases where researchers find vulnerabilities in the system, such as
      Common Vulnerabilities and Exposures (CVE) sponsored by United States
      (U.S.) Department of Homeland Security (DHS) and Cybersecurity and
      Infrastructure Security Agency (CISA), U.S. National Vulnerability Database
      (NVD) sponsored by DHS and CISA, etc. Public/private information-sharing
      centers refer to public threat intelligence, private threat intelligence and Cyber
      Threat Alliance (CTA) which provide critical security details in real-time.
      Automated Indicator Sharing (AIS) refers to standardized intelligence industry,
      Structured Threat Information eXpression (STIX), and Trusted Automated
      eXchange of Indicator Information (TAXII). Dark web intelligence refers to dark
      web, hacking groups and services, and monitor forums for cybersecurity
      activity. Indicators of compromise (IOC) refers to an event that indicates an
      intrusion and specific indicators, such as changes to Domain Name System
      (DNS) data. Predictive analysis refers to big data which identify network
      behaviors, forecast for potential attacks, combine with machine learning and
      with less emphasis on signatures. File/code repositories refer to public/private
      code repositories which can be used by attackers to exploit, such as phishing.
      As Professor Messer says, "Threats against your system exist and you must
      know where threat intelligence reports are coming from, such as public and
      private threat databases...."

      References:

      Professor Messer. (2021, January 20). Threat intelligence - sy0 -601 CompTia
      security+: 1.5 [Video]. Youtube. https://www.youtube.com/watch?
https://brightspace.ccc.edu/d2l/le/181981/discussions/threads/847526/View                               Page 2 of 3
                  Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 226 of 231 PageID #:226
Week #2: Explaining Threat Actors and Threat Intelligence - Summer 2021 PROFDEV 4180 SU1 KK              6/14/21, 4:02 AM

      security+: 1.5 [Video]. Youtube. https://www.youtube.com/watch?
      v=ccjIXXZUt8Y

      Professor Messer. (2017, November 11). Threat actors - ComptTIA security+
      sy0 - 501 1.3 [Video]. Youtube. https://www.youtube.com/watch?
      v=5LMDN3Yl8mI



            Reply to Thread




        Filter by:           All Posts            |   Clear filters                 Show:     Threaded


                    Wyvetta Harper
                    June 9 at 6:00 PM

                    Excellent coverage of threat intelligence. Question to you: Do you
                    think that a company can get enough information from the public
                    sources to really handle major cybersecurity attacks? If not, how
                    should the smaller companies fund these investments? Many
                    companies, including hospitals, are operating on slim margins already.
                    Any suggestions?

                            Reply



                                                                            1    /1



            Reply to Thread




https://brightspace.ccc.edu/d2l/le/181981/discussions/threads/847526/View                                     Page 3 of 3
 Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 227 of 231 PageID #:227




       Exhibit M:
    th
  17 District Chicago
   Police Department
Bodycam Footages via IL
         FOIA
    Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 228 of 231 PageID #:228




                   CPD Bodycam Footages via IL FOIA

•    https://www.youtube.com/watch?v=EU9AronWAIU
•    https://www.youtube.com/watch?v=Wv5EXNeU0yA
•    https://www.youtube.com/watch?v=qbtxi54XMO0
•    https://www.youtube.com/watch?v=Q60Kh8Hp-e4
•    https://www.youtube.com/watch?v=4hj7LQELUNU
•    https://www.youtube.com/watch?v=h3_XmSr1z6U
•    https://www.youtube.com/watch?v=Q8Pi-CFQ-uc
•    https://www.youtube.com/watch?v=Q8Pi-CFQ-uc
•    https://www.youtube.com/watch?v=Q8Pi-CFQ-uc
•    https://www.youtube.com/watch?v=Q8Pi-CFQ-uc
           Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 229 of 231 PageID #:229




Lori E. Lightfoot                              Department of Police · City of Chicago                                      David O. Brown
Mayor                                      3510 S. Michigan Avenue · Chicago, Illinois 60653                        Superintendent of Police

December 3, 2021

Via E-Mail
Jerico Cruz
theconsultantoo0oo@gmail.com

RE:     NOTICE OF RESPONSE TO FOIA REQUEST
        FOIA FILE NO.:    P668529

Dear Mr. Cruz:

The Chicago Police Department (CPD) is in receipt of your Freedom of Information Act (FOIA) request for the
following:




Your request was reviewed by the undersigned. A search of our records was conducted based upon the parameters
provided. You are being provided with a copy of all available Body Worn Camera Footage that related to RD#
JE264805 as the responsive record to your request.

Please be advised that certain information has been redacted from the enclosed responsive records pursuant to 5
ILCS 140/7(1)(b) and 5 ILCS 140/7(1)(c). Details of the redactions are set forth below:

Section 7(1)(b) exempts from disclosure “[p]rivate information, unless disclosure is required by another provision
of this Act, a State or federal law or a court order.” 5 ILCS 140/7(1)(b). The FOIA, in 5 ILCS 140/2(c-5), defines
“private information” as follows:

“Private information” means unique identifiers, including a person’s social security number, driver’s license
number, employee identification number, biometric identifiers, personal financial information, passwords or other
access codes, medical records, home or personal telephone numbers, and personal email addresses. Private
information also includes home address and personal license plates, except as otherwise provided by law or when
compiled without possibility of attribution to any person.”

Therefore, personal addresses, personal telephone numbers and CPD employee numbers/user codes are exempt
and were properly redacted pursuant to Section 7(1)(b).

In addition, dates of birth, victim names/relationships, witness names, and other third-party names, for instance,
the names of suspects who were never arrested and of persons referenced incidentally in reports, such as relatives
or neighbors (see, e.g., Ill.Att'y Gen. PAC Req. Rev. Ltr. 31526, issued November 26, 2014, at 6) as well as their
identifying information has been redacted as this information is exempt and protected from disclosure pursuant to
5 ILCS 140/7(1)(c) of FOIA. Section 7(1)(c) exempts from inspection and copying the following:


  Emergency and TTY: 9-1-1 · Non Emergency and TTY: (within city limits) 3-1-1 · Non Emergency and TTY: (outside city limits) (312) 746-6000
                                   E-mail: police@cityofchicago.org · Website: www.cityofchicago.org/police
             Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 230 of 231 PageID #:230


“[P]ersonal information contained within public records, the disclosure of which would constitute a clearly
unwarranted invasion of personal privacy… ‘Unwarranted invasion of personal privacy’ means the disclosure of
information is that highly personal or objectionable to reasonable person and in which the subject’s right to
privacy outweighs any legitimate public interest in obtaining the information.” Id.

LEADS print outs have also been withheld pursuant to §7(1)(a) of the Illinois FOIA Statute that exempts from
release "information specifically prohibited from disclosure by federal or State law or rules and regulations
implementing federal or State law."

All Department "queries" performed via the Illinois Law Enforcement Agencies Data System (LEADS) have been
withheld. LEADS is a statewide computerized data network that is designed to provide justice-related information
to authorized criminal justice agencies. Per 20 Ill. Adm. Code 1240.80(d), "LEADS data shall not be disseminated to
any individual or organization that is not legally authorized to have access to the information." Illinois courts have
recently held that this administrative regulation specifically prohibits a public body from "disclosing information
regarding inquiries performed by LEADS users" via FOIA and that "the public is not entitled to view or possesses
data that is transmitted through, received through or stored in LEADS."

You have the right to a review under 5 ILCS 140-9.5(a) by the Public Access Counselor (PAC) at the Office of the
Illinois Attorney General, 500 South 2nd Street, Springfield, Illinois 62706, Phone: (877) 299-3642, Fax: 217-782-
1396, E-mail: publicaccess@atg.state.il.us. You may also seek judicial review of a denial under 5 ILCS 140/11 by
filing a lawsuit in the State Circuit Court.

Sincerely,

P. Rodriguez
Freedom of Information Act Officer
Chicago Police Department
Office of Legal Affairs, Unit 114
3510 S. Michigan Ave.
Chicago, IL 60653
Gmail - Non-Commercial Police FOIA Request :: P668529-062021     https://mail.google.com/mail/u/0/?ik=5eﬀccbef7&view=pt&search=all&...
                     Case: 1:21-cv-06916 Document #: 1 Filed: 12/29/21 Page 231 of 231 PageID #:231


                                                               Jerico. the consultant <theconsultantoo0oo@gmail.com>



         Non-Commercial Police FOIA Request :: P668529-062021
         1 message

         Chicago Public Safety <chicagops@govqa.us>                                            Fri, Dec 3, 2021 at 10:16 AM
         To: "theconsultantoo0oo@gmail.com" <theconsultantoo0oo@gmail.com>



           Attachments:
           P668259-REDACTIONS-BWC-EBERLIN-11MIN8SSEC.mp4
           P668529_Response_Letter.pdf
           P668529-REDACTIONS-BWC-IBRAHIMOVIC-11MIN7SEC.mp4
           P668529-REDACTIONS-BWC-KHAN-12MIN39SEC.mp4
           P668529-REDACTIONS-BWC-KHAN-9MIN14SEC.mp4
           P668529-REDACTIONS-BWC-MAHE-10MIN56SEC.mp4
           P668529-REDACTIONS-BWC-MAHE-5MIN6SEC.mp4
           P668529-REDACTIONS-BWC-OSHANA-11MIN41SEC.mp4
           P668529-REDACTIONS-BWC-RIVERA-11MIN39SEC.mp4
           P668529-REDACTIONS-BWC-ZAGOZDON-10MIN33SEC.mp4
           P668529-REDACTIONS-BWC-ZAGOZDON-11MIN33SEC.mp4
           P668529-REDACTIONS-BWC-ZAGOZDON-26MIN12SEC.mp4
           P688529-REDACTIONS-BWC-KHAN-29MIN18SEC.mp4

           --- ---

           Good morning

           Attached is the response to your FOIA request.




1 of 1                                                                                                              12/24/21, 10:36 PM
